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                           Exhibit D
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Jeffrey N. Leibell

From:                        Robin Niemiec
Sent:                        Monday, January 14, 2019 10:19 AM
To:                          Reiss, William V.
Cc:                          Jeffrey N. Leibell
Subject:                     FRS - Auto Parts Indirect Research Memo
Attachments:                 FRS Research Memorandum - Auto Parts Indirect (2019-01-11).pdf


Dear Will:

Attached is the FRS research memo that we discussed last month. FRS’s insurer clients each intend to file, at a minimum,
a claim for fleet vehicles and for the vehicles they purchased as the result of an insured total loss. More than likely, their
claims also will include individual auto part purchases made by the insurer pursuant to the contracts of insurance issued;
however, we are currently reviewing accessibility of data for this portion of the claim.

I have cc’d our general counsel, Jeff Leibell, on this email because he and his department created the attached memo.
Per our last phone conversation, I believe your intent was to circulate this among your co‐lead counsel and then get
back to us.

Thank you,
Robin


Robin Niemiec
Executive Vice President Operations
561.231.5332 | rniemiec@frsco.com | LinkedIn


                 Financial Recovery Strategies
                 80 Wesley Street, South Hackensack, NJ 07606
                 201.853.0300 Main | 201.853.0301 Fax | www.FRSCO.com
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               R E S E A R C H                                 M E M O R A N D U M
           Insurers Are Eligible to Participate in the End Purchaser Settlements of the
                            In re Automotive Parts Antitrust Litigation

                                                        INTRODUCTION
           An automobile insurer that, under a policy of insurance, acquires a total loss vehicle by compensating
the purchaser or lessee (whether an insured or a third-party claimant) of that vehicle, is a member of the End
Purchaser classes certified by the court (the “EPP Classes”), and, therefore, is eligible to recover from the End
Purchaser Settlements (the “EPP Settlements”) of the In re Automotive Antitrust Litigation (“Auto Parts”). 1 As a
member of the EPP Classes, that insurer need not, as must GEICO, which excluded itself from all three rounds of
EPP Settlements and commenced its own actions, establish that it could have stated its own antitrust claim. 2 As
long as an insurer satisfies the court-certified definitions for the EPP Classes concerning each total loss vehicle –
that is, that the insured/claimant purchased the qualifying vehicle new or leased it, that the insured/claimant
did so not for resale and during the appropriate timeframe and in the appropriate location – therefore, the
insurer, with respect to each such total loss vehicle, is a member of the EPP Classes. And because the insurer
paid for total loss vehicles and made the insured/claimant whole, the insurer, under principles of contractual
and equitable subrogation, satisfies those definitions of the EPP Classes because:
           •    If the insured/claimant is determined to be the only member of the EPP Classes and, even though
                the insured/claimant was compensated by the insurer, entitled to recover 100% of the recovery
                provided by the EPP Settlements, the insured/claimant, contrary to the principles of equitable
                subrogation that exist to prevent unjust enrichment, would be unjustly enriched by that portion of
                the recovery caused by the antitrust loss already compensated by the insurer’s payment; and


1 This memo focuses on an insurer’s eligibility to recover for total loss vehicles. The same premises demonstrate that
insurers also are members of the EPP Classes with respect to, and, therefore, may participate in the EPP Settlements
for, every eligible part they purchased.
2 For example, an insurer member of the EPP Classes need not allege that it has standing under antitrust laws, which,
as the Auto Parts court held, “is a threshold, pleading-stage inquiry[,] and when a complaint by its terms fails to
establish this requirement[,] [the court] must dismiss it as a matter of law.’” GEICO Corporation v. Autoliv, Inc., ---
F.Supp.3d ---, 2018 WL 5077767, at *12 (E.D. Mich. Aug. 30, 2018) (hereinafter “GEICO”) (alterations in original)
(quoting NicSand, Inc. v. 3M Co., 507 F.3d 442, 450 (6th Cir. 2007). As such, the Auto Parts court’s determinations that
non-class member “GEICO has not put forward any allegations or authority to support a finding that the insurance
market in which Total Loss Payments are made is inextricably linked with the market for auto parts,” id. at *18, and
that “GEICO’s effort to recover for its Total Loss Payments introduces still more levels of uncertainty into the process
of attributing fault to particular Defendant suppliers and quantifying the resulting harm to GEICO,” id. at *19, and the
court’s resulting holding that “GEICO lacks standing to assert antitrust claims arising from this type of payment,” id.
at *19, are irrelevant to whether an insurer, with respect to each total loss vehicle that it acquires via compensating
the purchaser or lessee of that vehicle, may recover as a member of the EPP Classes.


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          •   If the insured/claimant is deemed to be the only member of the EPP Classes entitled to recover, but
              only for the antitrust loss not compensated by the insurer, and the insurer is not deemed also to be
              a member of the EPP Classes entitled to recover for the antitrust loss compensated through the
              insurance policy, the other members of the EPP Classes who submit claims would, solely at the
              expense of the excluded insurer, obtain a windfall because the settlement fund will be allocated
              among fewer claimants.

          The Round 1 defendants, in seeking to dismiss GEICO’s subrogation claims, tacitly agreed that insurers
that have not opted out are members of the EPP Classes. Specifically, the only argument that the Round 1
defendants proffered to dismiss GEICO’s subrogation claims was that, because GEICO had opted out of the
Round 1 EPP Class, and, therefore, was not a member of that EPP Class, GEICO’s subrogation claims were barred
by the releases that GEICO’s insureds, as members of the Round 1 EPP Class, provided as part of the Round 1
EPP Settlements. Each member of the EPP Classes – including insurers that have not opted out – has settled and
released its claims in exchange for a distribution from the EPP Settlements. See id. at *19-*20. 3 Unlike GEICO,
which opted out and, therefore, may be subject to those releases, 4 an insurer that has not opted out is still a
member of the EPP Classes, and, as such, is releasing its claims against defendants in exchange for the right to
participate in the settlement recoveries. Thus, once insurers fall within the court-certified definitions for the EPP
Classes – which, as set forth below, they do under principles of contractual and equitable subrogation – and




3It is a fundamental tenet of class action settlement law that the consideration for class members’ release of the
defendants is their right to participate in settlement recovery. See, e.g., Settlement Agreement (Yamashita Rubber
Co.) (Dkt. No. 145-1) at ¶ 22 (“[i]n consideration of payment of the Settlement Amount, … the Releasees shall be
completely released … [from any claims] that Releasors … ever had … on account of, or in any way arising out of, [the
Released Claims]”). Accordingly, the release may not bar a class member from participating in the recovery.
4   And even non-class member GEICO’s subrogation claims are unlikely to be barred by the releases:
          Yet, while the releases granted by the EPPs in their settlements ordinarily would operate to defeat
          GEICO’s right of subrogation, this rule is subject to a recognized exception that arguably might apply
          here. Specifically, “[w]here a third party obtains a release from an insured with knowledge that the
          latter has already received payment from the insurer or with information that, reasonably pursued,
          should give him knowledge of the existence of the insurer’s subrogation rights, such a release does
          not bar the [insurer’s] right of subrogation.”
GEICO at *21 (quoting Gibbs v. Hawaiian Eugenia Corp., 966 F.2d 101, 107 (2d Cir. 1992)). Given the nature of
automobile insurance and the state requirements that every vehicle must be insured, not to overlook that GEICO
provided to the Round 1 defendants notice that it had paid its insureds, defendants, which bear the burden on the
affirmative defense of release, will not be able to refute their knowledge, and, therefore, the releases will not bar
GEICO’s – or any insurer’s – subrogation claims.



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have not opted out of the EPP Classes, those insurers’ eligibility as members of the EPP Classes to recover from
the EPP Settlements is not affected by the releases provided to defendants in each EPP Settlement. See id.
         Because an insurer, pursuant to its contractual obligations, will have paid the insured/claimant the total
loss vehicle’s approximate market value immediately prior to the total loss event, permitting the
insured/claimant to obtain 100% of the recovery from the EPP Settlements would, to the extent of the payment
received from the insurer, unjustly provide the insured/claimant with a double recovery. And if the
insured/claimant may recover only its portion of the antitrust loss, but the insurer nevertheless is excluded, the
other eligible claimants will receive a windfall. As described below, however, the cases from every “Eligible
Location” hold that equitable subrogation is broad enough to apply so that the insurer may recover from the
EPP Settlements its portion of the antitrust loss and thus avoid the grossly inequitable results that would obtain
if the insurer was excluded. And under basic subrogation concepts, the insurer would “stand in the shoes” of the
insured/claimant – that is, if the vehicle in issue, but for the total loss, would have been eligible for the
insured/claimant to claim, it is eligible for the insurer to claim – and would have the same rights and be subject
to the same defenses as the insured/claimant. See, e.g., US Airways, Inc. v. McCutchen, 569 U.S. 88, 97 n.5, 133
S. Ct. 1537, 1546 n.5 (2013).


                                                     BACKGROUND
         Four rounds of EPP Settlements have been reached with 60 of the defendants. The publicly disclosed
total amount of the EPP Settlements obtained thus far is approximately $1.22 billion. The EPP Settlements in the
first three rounds, which total approximately $1.037 billion, have been finally approved by the court. Additional
EPP Settlements, which thus far total approximately $182 million, also have been filed with the court. Over 20
defendants have not yet settled. A qualifying vehicle – as set forth in the class notices, qualifying vehicles include
four-wheeled passenger automobiles, cars, light trucks, pickup trucks, crossovers, vans, mini-vans and sport
utility vehicles 5 – is eligible to participate in all three rounds if it:

5Qualifying vehicles and the Class Period related to each are listed on the official EPP Settlements website,
www.autopartsclass.com, as follows:
                 Rounds 1 and 2                  http://www.autopartsclass.com/included
                 Round 3                         http://www.autopartsclass.com/included_round_3.php
                 Latest Settlements              Not yet published




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        •   was purchased or leased at any time from 1995 to 2018 (the “Class Period”);

        •   was purchased or leased in the District of Columbia or one in of the following 30 states: Arizona,
            Arkansas, California, Florida, Hawaii, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,
            Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York, North
            Carolina, North Dakota, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah,
            Vermont, West Virginia or Wisconsin (each, an “Eligible Location”); and

        •   was not purchased for resale.

Once a vehicle meets these eligibility criteria, the only issues remaining for an insurer are as follows: (a) whether,
in a total loss situation, an insurer, to the extent of its payment to an insured/claimant, is a member of the EPP
Classes entitled to recover from the EPP Settlements; and (b) whether the vehicle remains eligible when claimed
by the insurer.


                                               LEGAL ANALYSIS
Insurers are Members of the EPP Classes Entitled to Recover from the EPP Settlements
        There is no legal principle that addresses directly how an insurer’s, an insured’s or a claimant’s rights to
recover from a class action settlement may be affected when, as is the case here, the insured/claimant, pursuant
to a policy of insurance, has received from an insurer compensation for damages alleged to have resulted from
illegal conduct resolved via that settlement. That said, when basic principles of equitable subrogation that, in
analogous situations in every Eligible Location, have been applied to prevent unjust enrichment so as to reach a
fair result, are applied, the insurer is a class member, and is entitled to recover from the settlement to the extent
of the losses the insurer suffered as a result of its payment to the insured/claimant.
        To summarize the factual predicate for this analysis:
        •   the insured/claimant satisfies the above-described eligibility criteria such that, but for the total loss,
            the insured/claimant would be a class member entitled to recover from the EPP Settlements;

        •   the insurer, pursuant to the provisions of a policy of insurance, (a) has paid to the insured/claimant
            an amount equal to the total loss vehicle’s approximate market value immediately prior to the total
            loss event; and (b) has taken title to the total loss vehicle; and

        •   the End Purchaser claims have been resolved through non-reversionary common fund settlements
            that, among other things, are “zero-sum games” – that is, the payment to one claimant necessarily
            diminishes the payments to every other claimant such that the fewer the number of claimed eligible
            vehicles, the greater the recovery for each approved claimant – in which the net recovery (after
            paying attorneys’ fees and expenses and the cost of administrating the settlements) will be allocated
            among approved claimants based on the information in their claim forms.



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These facts fit squarely within the doctrine of equitable subrogation. “[T]he doctrine of equitable subrogation,
‘as applied in the insurance context, allows an insurer to sue a third party for injuries that the third party caused
to the insured, when the insurer compensated the insured for those injuries.’” National Surety Corp. v. Hartford
Cas. Ins. Co., 493 F.3d 752, 756 (6th Cir. 2007), quoted in GEICO at *19. And according to Couch on Insurance,
subrogation traditionally was an equitable principle invoked to align the rights and responsibilities of the parties
concerning the discharge of a debt so that (a) the insured is prevented from recovering twice, and (b) the
tortfeasor does not escape liability simply because the victim had insurance that covered the loss caused by the
tortfeasor. See 16 COUCH ON INSURANCE (hereinafter, “COUCH”), § 222:8 (3d ed. 2018). Thus, if an automobile
purchaser or lessee, but for the total loss of that automobile, would be deemed the proper member of the EPP
Classes entitled to recover from the EPP Settlements, the payment by the insurer causes the insurer, to the
extent of its payment, to fit within the court-certified definition for the EPP Classes such that the insurer becomes
entitled to recover from the EPP Settlements for the losses the insurer sustained. Appendix A of this
memorandum sets forth for the Eligible Locations a selection of caselaw that follows or is consistent with
concept that equitable subrogation prevents “double recovery” or “unjust enrichment.” 6 Also supporting the
application of equitable subrogation here is the judicial recognition that, because equitable subrogation has a
“broad equitable foundation,” it should be “applied without regard to technicality.” See COUCH § 222:9.
Appendix B of this memorandum sets forth for the Eligible Locations a selection of caselaw in which courts have
broadly applied, or acknowledged the broad application of, equitable subrogation.


If a Vehicle is Eligible for an Insured/Claimant, the Vehicle is Eligible for the Insurer
        One of the most fundamental principles of subrogation is that the insurer succeeds to all rights,
priorities, remedies and liens of the insured/claimant with respect to losses incurred by the latter for which the



6 Contractual provisions also lead to the conclusion that an insurer is a member of the EPP Classes entitled to recover.
Once the insurer pays on the policy, takes title to the total loss vehicle, which “passes when the parties intend that it
pass,” e.g., Nationwide Insurance Co. of Amer. v. Porter, 995 N.Y.S.2d 235 (2014) (citing Dallura v. Rubicco, 772 N.Y.S.
2d 532 (2004)), and takes possession of the vehicle, the right to file a claim likely passes with it when, as is the case
with at least some insurers, a “Release of Insurer” or other similar document is executed by which the
insured/claimant, for the consideration received from the insurer, expressly transfers and assigns to the insurer all
rights, title, equity and interest in the total loss vehicle, and all claims, demands, rights and causes of action that the
insured/claimant may have against all persons, firms or corporations on account of that vehicle, through the date of
the event that caused the vehicle to become a total loss. See generally, 5 WILLISTON ON CONTRACTS 4th, Forms, §73F:8
(Release of insurer—Release of claim by insured under automobile insurance policy, with assignment).



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latter is compensated by former; thus, the insurer, once it compensates the insured/claimant for the loss,
“stands in the shoes” of the insured/claimant. See COUCH § 222:5. As the U.S. Supreme Court held in U.S. v.
Munsey Trust Co. of Washington, D.C., for example:
        One who rests on subrogation stands in the place of one whose claim he has paid, as if the
        payment giving rise to the subrogation had not been made.

332 U.S. 234, 242, 67 S. Ct. 1599, 1603 (1947) (emphasis added; citation omitted), quoted in U.S. v. California,
507 U.S. 746, 756, 113 S. Ct. 1784, 1790 (1993); accord US Airways, Inc. v. McCutchen, 569 U.S. 88, 97 n.5, 133
S. Ct. 1537, 1546 n.5 (2013) (“’Subrogation simply means substitution of one person for another; that is, one
person is allowed to stand in the shoes of another and assert that person’s rights against’ a third party.”)
(emphasis added) (quoting 1 Dobbs §4.3(4), at 604; citing 8B Appleman, INS. LAW & PRAC., §4941, at 11
(“‘Subrogation’ involves the substitution of the insurer … to the rights of the insured”)). And as the GEICO court
already has held:
        [t]he doctrine of equitable subrogation allows insurers to “stand in the shoes” of their insured to
        seek indemnification by pursuing any claims that the insured may have had against third parties
        legally responsible for the loss. In pursuing this recovery, the insurer (or subrogee) “succeeds to
        the rights of” its insured (the subrogor), and seeks to “require the party who caused the damage
        to reimburse the insurer for the payment the insurer has made” to its insured.

GEICO at *19 (quoting Allstate Ins. Co. v. Mazzola, 175 F.3d 255, 258 (2d Cir. 1999) (internal quotation marks
and citations omitted). Appendix C of this memorandum sets forth for the Eligible Locations a selection of
caselaw in which courts have held that a subrogee “stands in the shoes” of its subrogor. Because the insurer, as
subrogee to the insured/claimant, stands in its subrogor’s shoes, if the vehicle would qualify in the hands of the
insured/claimant but, it is a deemed a total loss by an insurer, which compensated the purchaser or lessee and
took title to the vehicle, that vehicle qualifies in the hands of the insurer. That is, if it is an eligible vehicle that,
during the Class Period, an insured/claimant, purchased new or leased in one of the Eligible Locations, in each
instance not for resale, the vehicle is for the insurer an eligible vehicle that, during the Class Period, was
purchased new or leased in one of the Eligible Locations not for resale.




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           R E S E A R C H                         M E M O R A N D U M
       Insurers Are Eligible to Participate in the End Purchaser Settlements of the
                        In re Automotive Parts Antitrust Litigation
                                     APPENDIX A
         Equitable Subrogation Prevents Unjust Enrichment or Double Recovery

   Arizona:
   Weitz Co. L.L.C. v. Heth:
        Arizona applies “equitable subrogation” as set forth in Restatement (Third) of Property:
       Mortgages §7.6(a) (1997) (“Restatement”):
         One who fully performs an obligation of another, secured by a mortgage, becomes by
         subrogation the owner of the obligation and the mortgage to the extent necessary to prevent
         unjust enrichment. Even though the performance would otherwise discharge the obligation
         and the mortgage, they are preserved and the mortgage retains its priority in the hands of
         the subrogee.
       See Sourcecorp, Inc. v. Norcutt, 274 P.3d 1204, 1207 (Ariz. 2012) (adopting the Restatement
       approach). Under this doctrine, for example, a junior lienholder who fully satisfies a debt
       secured by a superior mortgage on real property may be equitably subrogated to that mortgage
       to the extent necessary to prevent an intervening lienholder from receiving an unearned
       windfall afforded by an advancement in lien priority.2 See id. at 1209-10; Restatement §7.6
       cmt. a. If equitable subrogation is permitted, the junior lienholder, now the subrogee, is entitled
       to obtain and record a written assignment of the superior lienholder's rights to place others on
       notice of the subrogation. Restatement §7.6 cmt. a.
   333 P.3d 23, 27 (Ariz. 2014) (emphasis added); Sourcecorp, Inc. v. Norcutt, 274 P.3d 1204, 1207 (Ariz.
   2012) (en banc) (“[A] person who ‘fully performs an obligation of another, secured by a mortgage,
   becomes by subrogation the owner of the obligation and the mortgage to the extent necessary to prevent
   unjust enrichment.’”) (emphasis added) (citing Restatement (Third) of Property (Mortgages) §7.6
   comment). Monterey Homes Arizona, Inc. v. Federated Mut. Ins. Co., 212 P.2d 43, 47 (Ariz. 2009)
   (“[G]enerally, when an insurer has paid a loss suffered by its insured, the insurer becomes subrogated to
   the insured’s claim against the party primarily liable for the loss and may enforce that claim against that
   party ….”); Liberty Mut. Ins. Co. v. Thunderbird Bank, 542 P.2d 39, 49-50 (Ariz. Ct. App. 1975) (Jacobson,
   P.J., dissenting) (“As can be seen the equitable doctrine of subrogation had its origins in the
   debtor/creditor relationship, to avoid unjust enrichment.”) (emphasis added), vacated on other grounds
   by Liberty Mut. Ins. Co. v. Thunderbird Bank, 555 P.2d 333 (Ariz. 1976).




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                                    APPENDIX A
        Equitable Subrogation Prevents Unjust Enrichment or Double Recovery

  Arkansas:
  Southern Farm Bureau Cas. Ins. Co. v. Tallant:
       Subrogation is the substitution of one party for another. Welch Foods, Inc. v. Chicago Title Ins.
     Co., 341 Ark. 515, 17 S.W.3d 467 (2000). The party asserting subrogation is making demand under
     the right of another. Cooper v. Home Owners’ Loan Corp., 197 Ark. 839, 126 S.W.2d 112 (1939);
     Chaffe & Bros. v. Oliver, 39 Ark. 531 (1882). Subrogation is a normal incident of indemnity
     insurance. Sentry Ins. Co. v. Stuart, 246 Ark. 680, 439 S.W.2d 797 (1969). That is to say that
     because insurers pay the obligations of their insureds, a right in equity to subrogation in the
     insurer arises. Id. This assures against unjust enrichment by way of double recovery. Shelter Mut.
     Ins. Co. v. Bough, 310 Ark. 21, 834 S.W.2d 637 (1992).
                                                        …
        In the context of automobile insurance, an insurer is entitled to subrogation because, while not
      primarily responsible for paying for injuries and damages suffered by the insured at the hands of
      a third person, it is under an obligation to pay by reason of the policy of insurance. Farm Bureau
      Mut. Ins. Co. v. Riverside Marine Remanufacturing, Inc., 278 Ark. 585, 647 S.W.2d 462 (1983).
      Thus, under these facts, the right to subrogation arises by operation of law; however, if there is a
      subrogation provision in the policy, then it also arises by convention.
  207 S.W.3d 468, 471 (Ark. 2005) (emphasis added): Newberry v. Scruggs, 986 S.W.2d 853, 857 (Ark. 1999)
  (“The doctrine of subrogation is an equitable one, having for its basis the doing of complete and perfect
  justice between the parties without regard to form, and its purpose and object is the prevention of
  injustice. … It rests upon the maxim that no one shall be enriched by another’s loss ….”) (emphasis added)
  (quoting Southern Cotton Oil Co. v. Napoleon Hill Cotton Co., 158 S.W. 1082 (Ark. 1913)).

  California:
  Fireman’s Fund Ins. Co. v. Maryland Cas. Co.:
         The essential elements of an insurer’s cause of action for equitable subrogation are as follows:
      (a) the insured suffered a loss for which the defendant is liable, either as the wrongdoer whose act or
      omission caused the loss or because the defendant is legally responsible to the insured for the loss
      caused by the wrongdoer; (b) the claimed loss was one for which the insurer was not primarily liable;
      (c) the insurer has compensated the insured in whole or in part for the same loss for which the
      defendant is primarily liable; (d) the insurer has paid the claim of its insured to protect its own interest
      and not as a volunteer; (e) the insured had an existing, assignable cause of action against the
      defendant which the insured could have asserted for its own benefit had it not been compensated for
      its loss by the insurer; (f) the insurer has suffered damages caused by the act or omission upon which
      the liability of the defendant depends; (g) justice requires that the loss be entirely shifted from the
      insurer to the defendant, whose equitable position is inferior to that of the insurer; and (h) the
      insurer’s damages are in a liquidated sum, generally the amount paid to the insured.




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          R E S E A R C H                         M E M O R A N D U M
                                    APPENDIX A
        Equitable Subrogation Prevents Unjust Enrichment or Double Recovery

  77 Cal. Rptr.2d 296, 302-03 (1998) (citing Caito v. United California Bank, 144 Cal. Rptr.751, 576 P.2d 466
  (1978); Fireman’s Fund Ins. Co v. Wilshire Film Ventures, Inc., 60 Cal. Rptr.2d 591 (1997); Patent Scaffolding
  Co. v. William Simpson Constr. Co., 64 Cal. Rptr. 187 (1967); Grant v. de Otte, 122 Cal. App.2d 724,728,
  265 P.2d 952 (1954); 11 Witkin, Summary of Cal. Law (9th ed.), Equity, §169, p. 849.); Bank of New York
  Mellon v. Citibank, N.A., 214 Cal. Rptr.3d 504, 520 (Cal. Ct. App. 2017) (“Equitable subrogation may be
  used ‘“to enforce restitution in order to prevent unjust enrichment ….’”) (emphasis added) (quoting
  Estate of Kemmerrer, 251 P.2d 345, 347 (Cal. Ct. App. 1952)); 21st Century Ins. Co. v. Superior Court, 213
  P.3d 972, 976 (Cal. 2009) (“If insureds must reimburse their insurers once they recover from the
  tortfeasors, they are prevented from receiving double recovery and the financial responsibility for their
  loss is placed on the tortfeasor.”) (emphasis added) (citing Helfend v. So. Cal. Rapid Transit Dist., 465 P.2d
  61, 68 n.17 (Cal. 1970 (in bank) (“[S]ubrogation (or refund of benefits) is the means by which double
  recovery by the owner is prevented and the ultimate burden shifted to the wrongdoer where it belongs.)
  (emphasis added)).

  District of Columbia:
  Harbor Ins. Co. v. Schnabel Found. Co.:
      Plaintiff Harbor, as an insurer which has paid the full amount of its loss, is subrogated to the full
      extent of the insured’s claim against the responsible party. Link Aviation, Inc. v. Downs, 325 F.2d
      613, 614 (D.C. Cir. 1963). Subrogation is the substitution of one person for another in litigating a
      claim, demand, demand, or right-the substituted party succeeds to the rights of the other. 11 John
      Alan Appleman and Jean Appleman, INS. LAW & PRAC., §6501 (1981). The subrogee is entitled to
      the amount paid to the insured, but is not entitled to be unjustly enriched by receiving money in
      excess of what it actually paid. Beacon Bowl v, Wisconsin Electric Power Company, 176 Wis.2d
      740, 501 N.W.2d 788, 801 (1993).
  992 F. Supp. 419, 431 (D.D.C. 1997), vacated as a result of settlement by Harbor Ins. Co. v. Schnabel
  Foundation Co., 992 F. Supp. 437 (D.D.C. 1997); Eastern Sav. Bank, FSB v. Pappas, 829 A.2d 953, 957 (D.C.
  2003) (“’The basic principles underlying subrogation are the same as those in constructive trusts,
  prevention of merger, and equitable liens, i.e., restitution to prevent forfeiture and unjust enrichment.’”)
  (quotation and citations omitted) (emphasis added); Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Riggs
  Nat. Bank of Washington, D.C., 646 A.2d 966, 968 (“Where one party has paid the debt of another, justice
  requires that the payor be able to recover his loss from the one who should have paid it, to prevent unjust
  enrichment.”) (footnote omitted; emphasis added) (citing Appleman, INS. LAW & PRAC., §6502 (1981);
  Washington Mechanics’ Sav. Bank v. District Title Ins. Co., 65 F.2d 827, 829 (1933) (“The title companies,
  therefore, were not entitled in their own right to recover a second reimbursement for the same loss.”)
  (emphasis added)).




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  Florida:
  Continental Cas. Co. v. Ryan Inc. Eastern:
        Unlike conventional subrogation, which is created by express agreement, equitable (sometimes
      referred to as legal) subrogation arises by operation of law. See DeCespedes v. Prudence Mut. Cas.
      Co., 193 So.2d 224, 227 (Fla. 3d DCA 1966); 31A Fla. Jur.2d Insurance §3295 (2002). Equitable
      subrogation has been defined as “the substitution of one party for another whose debt the party
      pays, entitling the paying party to rights, remedies, or securities that would otherwise belong to
      the debtor.” BLACK’S LAW DICTIONARY 1467. Basically, it is an equitable remedy created “by the legal
      consequences of the acts and relationships of the parties.” Dade County Sch. Bd. v. Radio Station
      WQBA, 731 So.2d 638, 646 (Fla.1999). Accordingly, equitable subrogation, “the object of which is
      to prevent injustice,” is governed by principles of equity. 22 Eric Mills Holmes, Holmes’ Appleman
      on Insurance 2d, §141.1 [C][1].
  974 So.2d 368, 376-77 (Fla. 2013) (emphasis added); Florida Peninsula Ins. Co. v. Ken Mullen Plumbing,
  Inc., 171 So.3d 194, 197 (Fl. Ct. App. 2015) (“’The policy behind the doctrine [of equitable subrogation] is
  to prevent unjust enrichment by assuring that the person who in equity and good conscience is
  responsible for the debt is ultimately answerable for its discharge.’”) (citations omitted; emphasis added);
  Gortz v. Lytal, Reiter, Clark, Sharpe, Roca, Fountain & Williams, 769 So.2d 484, 486 (Fla. Ct. App. 2000)
  (“Equitable subrogation is ‘founded on the proposition of doing justice without regard to form. The
  doctrine exists to prevent unjust enrichment.’”) (emphasis added) (quoting Benchwarmers, Inc. v. Gorin,
  689 So.2d 1197, 1199 (Fla. Ct. App. 1997)) (internal quotation marks omitted).

  Hawaii:
  Yukumoto v. Tawarahara:
        Subrogation is a “creature of equity,” and is premised on the notion that an insured should not
      be able to “unduly benefit from a loss and thereby enjoy a ‘double recovery’ from both the
      insurer and the tortfeasor.” St. Paul Fire & Mar. Ins. Co. v. Liberty Mut. Ins. Co., 353 P.3d 991, 994
      (Haw. 2015); Roger Baron, Subrogation: A Pandora's Box Awaiting Closure, 41 S.D. L. REV. 237, 241
      (1996); see also Johnny C. Parker, The Made Whole Doctrine: Unraveling the Enigma Wrapped in
      the Mystery of Insurance Subrogation, 70 MO. L. REV. 723 (2005). Subrogation exists to provide
      insurers with a mechanism “to recover the costs of reimbursing injured insured parties.” Parker,
      supra, at 723; see St. Paul, 353 P.3d at 994.
  400 P.3d 486, 492-93 (Haw. 2017) (emphasis added), quoted in Rudel v. Hawaii Mgmt. Alliance Assoc., Civ.
  No. 15-00539 JMS-RLP, 2017 WL 4969331, at *3 n.5 (D. Haw. Oct. 31, 2017).




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  Iowa:
  Allied Mut. Ins. Co. v. Heiken:
        Subrogation is a doctrine that originated in equity to give relief to a person or entity that pays
      a legal obligation that should have, in good conscience, been satisfied by another. See 16 Lee R.
      Russ & Thomas F. Segalla, COUCH ON INSURANCE 3d §222:8, at 222-30 (2000) [hereinafter COUCH];
      see also State Dep’t of Human Servs. ex rel. Palmer v. Unisys Corp., 637 N.W.2d 142, 154 (Iowa
      2001) (discussing principles related to unjust enrichment). The doctrine has emerged to play a
      vital role in insurance law by permitting an insurer who has paid a loss to an insured to become
      “subrogated in a corresponding amount to the insured’s right of action against any person
      responsible for the loss.” 6A John Alan Appleman & Jean Appleman, INS. LAW & PRAC., §4051, at
      103 (rev. ed. 1972) …; see also Kapadia v. Preferred Risk Mut. Ins., 418 N.W.2d 848, 851 (Iowa
      1988). The doctrine is needed in the insurance field “to preserve the principle of indemnity”. 4
      Rowland H. Long, The Law of Liability Insurance §23.01, at 23-3 (1998).
  675 N.W.2d 820, 824-25 (Iowa 2004); State Dep’t of Human Servs. ex rel. Palmer v. Unisys Corp., 637
  N.W.2d 142, 154 (Iowa 2001) (“The right of one party, who has satisfied a claim, to seek reimbursement
  from another party can generally be pursued by three interrelated common law principles: indemnity,
  contribution, and subrogation. … All three principles are equitable in nature and employed to correct or
  prevent unjust enrichment.”) (emphasis added); Principal Cas. Ins. Co. v. Norwood, 463 N.W.2d 66, 67-68
  (Iowa 1990) (“At common law in Iowa and elsewhere, the recognized purpose of subrogation is ‘to prevent
  unjust enrichment of one party at the expense of another.’”) (emphasis added) (quoting Ludwig v. Farm
  Bureau Mut. Ins. Co., 393 N.W.2d 143, 146 (Iowa 1986), in turn citing RESTATEMENT OF RESTITUTION §162, at
  653 (1937)); Lumbermens Mut. Cas. Co. v. State, Dept. of Rev. & Fin., 564 N.W.2d 431, 434 (Iowa 1997)
  (same).

  Kansas:
  Hartford Fire Ins. Co. v. Western Fire Ins. Co.:
        There are two kinds of subrogation, one of which is termed “conventional,” and the other, in
      contradistinction, “legal,” or by reason of its origin and basis “equitable.” 73 Am. Jur.2d,
      Subrogation §2, p. 599; see also Kansas City Title & Trust Co. v. Fourth Nat’l Bank, 135 Kan. 414,
      10 P.2d 896 (1932). In United States Fidelity & Guaranty Co. First State Bank, 208 Kan. 738, 749,
      494 P.2d 1149, 1157-8 (1972), this court said:
        We have long recognized the distinction between “conventional” subrogation, based on
        contract, and “legal” or “equitable” subrogation which arises by operation of law without
        regard to any contractual relationship. …
  597 P.2d 622, 629 (Kan. 1979); Henson v. Davis, 402 P.3d 1161, 1166-67 (Ct. App. Kan. 2015) (“An essential
  element of this subrogation relationship … [is that it] prevents a double recovery by the person to whom




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  the payment was owed—in our case, the injured party, Henson.”) (emphasis added); Witmer v. Brosius'
  Estate, 336 P.2d 455, 459-60 (Kan. 1959) (“‘The general principles with reference to unjust enrichment
  which are at the basis of constructive trusts and the analogous equitable remedies of equitable lien and
  subrogation are also at the basis of quasi-contractual obligations.’”) (quotation omitted; emphasis added);
  Nat’l City Mortg. Co. v. Ross, 117 P.3d 880, 888 (Kan. Ct. App. 2005) (“the doctrine of subrogation is based
  on the theory of unjust enrichment”) (emphasis added).

  Maine:
  MMG Ins. Co. v. Podiatry Ins. Co. of Am., 263 F. Supp.3d 327, 340 (D. Me. 2017) (“The Maine Supreme
  Judicial Court has stated that equitable subrogation is ‘a device adopted by equity to compel the ultimate
  discharge of an obligation by him who in good conscience ought to pay it.’”) (quoting Nappi v. Nappi
  Distribs., 691 A.2d 1198 (Me. 1997), in turn quoting United Carolina Bank v. Beesley, 663 A.2d 574, 576
  (Me. 1995)).); Id. (Equitable subrogation “is ‘a concept derived from principles of restitution and unjust
  enrichment.’”) (emphasis added) (quoting Nappi, 691 A.2d 1198, in turn citing North East Ins. Co. v.
  Concord Gen. Mut. Ins. Co., 433 A.2d 715, 719 (Me. 1981)); Maine Mun. Emp. Health Trust v. Maloney,
  846 A.2d 336, 339 n.1 (Me. 2004) (“Equitable subrogation is itself based on principles of unjust
  enrichment and restitution.” (emphasis added) (citing North East Ins. Co. v. Concord Gen. Mut. Ins. Co.,
  433 A.2d 715, 719 (Me.1981)).

  Massachusetts:
  Travelers Ins. Co. v. Graye:
        The right of subrogation is not dependent on contract but “rest[s] upon natural justice and
      equity.” Amory v. Lowell, 1 Allen, 504, 507 (Mass. 1861). See Massachusetts Hosp. Life Ins. Co. v.
      Shulman, 12 N.E.2d 856, 858 (Mass. 1938). The doctrine is expounded in Arnould on Marine
      Insurance (14th ed.) §1225: “Subrogation is an equitable arrangement incident to all contracts of
      indemnity and to all payments on account thereof.” …
                                                       …
      We are of the opinion that the attempted salvage of the yacht by the plaintiff was not inconsistent
      with subrogation, and therefore did not estop the plaintiff from pursuing that remedy.
  263 N.E.2d 442, 443-44 (Mass. 1970); Ditech Fin., LLC v. Kennedy, No. 17-P-324, 2018 WL 1371094, at *2
  (Mass. Ct. App. Mar. 19, 2018) (“We are guided by ’the purpose of equitable subrogation[, which] is to
  prevent unjust enrichment.’”) (emphasis added; alteration in original) (quoting Wells Fargo Bank, N.A. v.
  Comeau, 87 N.E.3d 577, 582 (Mass. App. Ct. 2017)); Frost v. Porter Leasing Corp., 436 N.E.2d 387, 389
  (Mass. 1982) (“The reason for implied subrogation under contracts of insurance is to prevent an
  unwarranted windfall to the insured. If the insured recovers from both the insurer and the tortfeasor, his




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  compensation may exceed his actual loss. Duplicative recovery is ‘a result which the law has never looked
  upon with favor.’”) (emphasis added) (citing and quoting Graye, 263 N.E.2d 443-44), cited in Suffolk Const.
  Co., Inc. v. Benchmark Mech. Sys., Inc., 475 Mass. 150, 154 (Mass. 2016) (“The underlying principle of
  implied subrogation is to prevent an unwarranted windfall, something disfavored in the law.”) (emphasis
  added).

  Michigan:
  Foremost Life Ins. Co. v. Waters:
      [Equitable subrogation is a] legal fiction through which a person who, not as a volunteer or in his
      own wrong, and in absence of outstanding and superior equities, pays debt of another, is
      substituted to all rights and remedies of the other, and the debt is treated in equity as still
      existing for his benefit, …
  278 N.W. 2d 688, 689-90 (Mich. Ct. App. 1982) (emphasis added), rev’d on other grounds by Foremost Life
  Ins. Co. v. Waters, 329 N.W.2d 688 (Mich. 19820 (per curiam); Badran v. Household Finance Corp, III,
  No. 279026, 2008 WL 4335098, at *5 n.6 (Mich. Ct. App. Sept. 23, 2008) (“[O]ne ‘who fully performs an
  obligation of another, secured by a mortgage, becomes by subrogation the owner of … the mortgage to
  the extent necessary to prevent unjust enrichment.’”) (emphasis added) (quoting Restatement Property
  (Mortgages), 3d, §7.6).

  Minnesota:
  Auers v. Progressive Direct Ins. Co., 878 N.W.2d 350, 355 (Minn. 2016) (“A subrogation lien is ‘an equitable
  lien impressed on moneys on the ground that they ought to go to the insurer.’”) (citing Sereboff v. Mid
  Atlantic Med. Servs., Inc., 547 U.S. 356, 368, 126 S. Ct. 1869, 1877, 164 L.Ed.2d 612 (2006), in turn citing
  4 Palmer, Law of Restitution §23.18(d), at 470)); Time Ins. Co. v. Opus Corp., 519 N.W.2d 470, 472 (Minn.
  Ct. App. 1994) (“[T]he purpose of subrogation is to prevent unjust enrichment by a tortfeasor.”) (emphasis
  added); Group Health, Inc. v. Heuer, 499 N.W.2d 526, 530 (Minn. Ct. App. 1993) (“Subrogation is an
  equitable concept arising out of payment of another’s obligation, and its purpose is to prevent unjust
  enrichment.”) (emphasis added) (citing Westfield Ins. Co. v. Farm Bureau Mut. Ins. Co., 515 F. Supp. 38,
  40 (D. Minn. 1981); id. (“equity will not permit a tortfeasor to benefit by receiving a windfall.”) (citing
  Westendorf v. Stasson, 330 N.W.2d 699, 703 (Minn. 1983)).

  Mississippi:
  Armstrong v. Mississippi Farm Bureau Cas. Ins. Co.,
      Subrogation can be either contractual or equitable. St. Paul Prop. & Liab. Ins. Co. v. Nance 577
      So.2d 1238, 1240 (Miss. 1991). The purposes of subrogation are to prevent the insured from




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      recovering twice for the same loss and to reimburse the insurer when a third party should be
      required to pay for the loss. 83 C.J.S. Subrogation §3 (2000).
  66 So.3d 188, 190-91 (Miss. Ct. App. 2011) (emphasis added); Tighe v. Walton, 103 So.2d 8, 13 (Miss.
  1958) (“’The right to subrogation is particularly appropriate where the circumstances under which the
  application is made results in unjust enrichment.’”) (emphasis and quotation omitted).

  Missouri:
  Missouri Pub. Entity Risk Mgmt. Fund v. American Cas. Co. of Reading, 399 S.W.3d 68, 74 (Mo. Ct. App.
  2013) (“Unjust enrichment is related to the doctrine of equitable subrogation. ‘Subrogation exists to
  prevent unjust enrichment.’”) (emphasis added) (quoting Keisker v. Farmer, 90 S.W.3d 71, 75 (Mo. 2002)
  (en banc)).

  Montana:
  Montana Petroleum Tank Release Comp. Bd. v. Capitol Indem. Co., 137 P.3d 522, 528 (Mont. 2006)
  (“Subrogation is an equitable adjustment of rights used to avoid unjust enrichment. In many instances
  this is accomplished by substituting on person or entity in place of another in regard to some claim or right
  the second person or entity has against a third party.”) (emphasis added) (citing Swingley v. Riechoff, 112
  P.2d 1075, 1077 (Mont. 1941)); Skauge v. Mountain States Tel. & Tel. Co., 565 P.2d 628, 630 (Mont. 1977)
  (“The theory behind this principle [of subrogation] is that absent repayment of the insurer the insured
  would be unjustly enriched by virtue of recovery from both the insurer and the wrongdoer, or in absence
  of such double recovery by the insured, the third party would go free despite his legal obligation in
  connection with loss.”) (emphasis added) (citing 16 COUCH ON INSURANCE 2d, Subrogation, §61.18; Standard
  Acc. Ins. Co. v. Pellecchia, 104 A.2d 288, 292 (N.J. 1954); Fidelity & Cas. Co. of N. Y. v. First Nat. Bank in Ft.
  Lee, 397 F. Supp. 587, 589 (D.N.J. 1975).

  Nebraska
  Rawson v. City of Omaha, 322 N.W.2d 381, 385 (Neb. 1982) (“[T]o hold [subrogation inapplicable] would
  result in unjust enrichment to the City and was the very reason for creating the doctrine of equitable
  subrogation.”) (emphasis added); Universal Underwriters Ins. Co. v. Farm Bureau Ins. Co. of Nebraska, 498
  N.W.2d 333, 335-36 (Neb. 1993) (“Subrogation is an equitable doctrine applied in order to avoid unjust
  enrichment when one party has discharged an obligation which should have been satisfied in whole or in
  part by another.”) (emphasis added) (citing Reese v. AMF-Whitely, 420 F. Supp. 985, 989 (D. Neb.1976)).

  Nevada:
  Arguello v. Sunset Station, Inc., 252 P.3d 206, 208 (Nev. 2011) (“Subrogation is “[t]he principle under which
  an insurer that has paid a loss under an insurance policy is entitled to all the rights and remedies belonging




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  to the insured against a third party with respect to any loss covered by the policy. BLACK’S LAW DICTIONARY
  1563-64(9th ed. 2009).”); Houston v. Bank of Am. Fed. Sav. Bank, 78 P.3d 71, 74 & n.11 (Nev. 2003)
  (“Equitable subrogation is an equitable remedy to avoid a person’s receiving an unearned windfall at the
  expense of another.”) (emphasis added) (citing Restatement (Third) of Property: Mortgages §7.6 cmt a).

  New Hampshire:
  Wolters v. American Republic Ins. Co.:
        The doctrine of subrogation has its origins in equity. Dimick v. Lewis, 497 A.2d 1221, 1223 (N.H.
      1985). A party’s right to subrogation can arise either by contract, statute, or common law or
      equitable principles. Moulton v. Groveton Papers Co., 323 A.2d 906, 910 (N.H. 1974); see also
      16 L. Russ & T. Segalla, COUCH ON INSURANCE 3d §222:6, at 222–27 (2000).
                                                       …
      The purpose behind subrogation “is to place the responsibility where it ultimately should rest by
      compelling payment by the one who in good conscience ought to pay it” Security Fence Co. v.
      Manchester Fed. S&L Ass’n, 136 A.2d 910, 912 (N.H. 1957) (quotation omitted). It also prevents
      the insured from recouping a windfall double recovery.” Cunningham v. Metropolitan Life Ins.
      Co., 360 N.W.2d 33, 36 (Wis. 1985).
  827 A.2d 197 (N.H. 2003) (emphasis added).

  New Mexico:
  Amica Mut. Ins. Co. v. Maloney:
        It is well settled that when an insurer pays a claim of the insured under the insured’s policy, it
      “is deemed to be subrogated by operation of law to recovery of its payments against the person
      who cause the who caused the loss. Safeco Ins. Co. of Am. v. U. S. Fid. & Guar. Co., 679 P.2d 816,
      817 (N.M. 1984); see also U. S. Fid. & Guar. Co. v. Raton Nat’l Gas Co., 521 P.2d 122, 124-25 (N.M.
      1974). The doctrine of subrogation is “founded upon the relationship of the parties and upon
      equitable principles, for the purpose of accomplishing the substantial ends of justice.” Raton,
      521 P.2d at 124-25 (quoting 6A Appleman, INS. LAW & PRAC., §4054 at 142-44).
  903 P.2d 834, 838 (N.M. 1995) (emphasis added); Seaboard Fire & Mar. Ins. Co. v. Kurth, 633 P.2d 1229,
  1236 (N.M. Ct. App. 1980) (“’Subrogation is a remedy which courts of equity employ to prevent unjust
  enrichment.’”) (emphasis added; quotation omitted); Quality Chiropractic, PC v. Farmers Ins. Co. of
  Arizona, 51 P.3d 1172, 1179 (N.M. Ct. App. 2002) (“Subrogation developed as an equitable doctrine
  intended to avoid unjust enrichment.”) (emphasis added).




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  New York:
  North Star Reins. Corp. v. Continental Ins. Co.:
      Subrogation allocates responsibility for the loss to the person who in equity and good conscience
      ought to pay it, in the interest of avoiding absolution of a wrongdoer from liability simply because
      the insured had the foresight to procure insurance coverage (see 16 COUCH, INSURANCE 2d §61:18
      [rev. ed.]. The right arises by operation of law when the insurer makes payment to the insured
      (see 16 COUCH, Insurance 2d §61:4 [rev. ed.)
  82 N.Y.2d 281, 294 (1993); Teichman by Teichman v. Community Hosp. of Western Suffolk, 663 N.E.2d 628,
  631 (N.Y. 1996) (“This right of subrogation, formulated to prevent unjust enrichment, is based upon
  ‘principles of equity and natural justice.’”) (emphasis added; quotation omitted), cited in In re September
  11 Litigation, 802 F.3d 314, 351 (2d Cir. 2015) (Straub, J., concurring in part and dissenting in part).

  North Carolina:
  Milwaukee Ins. Co. v. McLean Trucking Co.:
      The right of an insurer to be thus subrogated to the rights of the insured may be either the right
      of conventional subrogation––that is, subrogation by agreement between the insurer and the
      insured––or the right of equitable subrogation, by operation of law, upon the payment of the loss.
  125 S.E.2d 25, 29 (N.C. 1962) (citing Smith v. Pate, 97 S.E.2d 457, 460 (N.C. 1957); Underwood v. Dooley,
  147 S.E. 686, 690 (N.C. 1929); Lumberman’s Mut. Ins. Co. v. Southern Ry. Co., 102 S.E. 417, 421 (N.C. 1920);
  Cunningham & Hinshaw v. Seaboard Air Line Ry., 51 S.E. 1029, 1031-32 (N.C. 1905); 29 AM. JUR., Insurance,
  §1719); Hogan v. Johnson Motor Lines, 248 S.E.2d 61, 64-65 (N.C. Ct. App. 1978) (“’The underlying basis
  of the employer's right to subrogation is the prevention of an unjust enrichment on the part of the
  employee in the form of a double recovery for the same injury.’”) (emphasis added; quotation omitted).

  North Dakota:
  Tschider v. Burtts, 149 N.W. 2d 710, 711 (N. D. 1967) (“We have held an insurer may be subrogated to the
  rights of its insured against one primarily responsible, either in equity (Weber v. United Hardware & Imp.
  Mut. Co., 75 N.D. 581, 31 N.W.2d 456, 459 (N.D. 1948)), or by contract (Farmers Ins. Exch. v. Arlt, 61
  N.W.2d 429, 433-34 (N.D. 1953)); Kunkel v. First Nat. Bank of Devils Lake, 393 N.W.2d 265, 268 (N.D. 1986)
  (subrogation designed “to prevent unjust enrichment”) (emphasis added; citations omitted).

  Oregon:
  Koch v. Spann, 92 P.3d 146, 148 (Or. Ct. App. 2004) (“Subrogation is an equitable doctrine that is based
  on theory of restitution and unjust enrichment. Maine Bonding v. Centennial Ins. Co., 298 Or. 514, 520-21
  n.4, 693 P.2d 1296 (1985). It enables a secondarily liable party who has been compelled to pay a debt to




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  be made whole by collecting the debt from the primarily liable party who, in good conscience, should be
  required to pay. Id. at 520-21 n.4, 693 P.2d 1296.”) (emphasis added); Ochoco Lumber Co. v. Fibrex &
  Shipping Co., Inc., 994 P.2d 793, 796 (Or. Ct. App. 2000) (“The purpose of subrogation is to prevent unjust
  enrichment.”) (emphasis added) (citing Barnes v. Eastern & Western Lbr. Co., 287 P.2d 929, 951 (Or.
  1955)).

  Rhode Island:
  Hawkins v. Gadoury, 713 A.2d 799, 804 (R.I. 1998) (“[I]n its broadest sense, [subrogation] is the
  substitution of one person for another, so that he may succeed to the rights of the creditor in relation to
  the debt or claim and its rights, remedies and securities.”) (quoting Silva v. Home Indem. Co., 416 A.2d
  664, 667 (R.I. 1980), in turn quoting May Trucking Co. v. Int’l Harvester Co., 543 P.2d 1159, 1161-62 (Idaho
  1975) (quotation omitted)); Rhode Is. Hosp. Trust Nat. Bank v. Feriole, No. C.A. 79-2785, 1980 WL 340218,
  at *2 (R.I. Mar. 13, 1980) (“Legal subrogation arises by operation of law when there is a debt or obligation
  owed by one person which another person, who is neither a volunteer nor an intermeddler, pays or
  discharges under such circumstances as in equity entitle him to reimbursement to prevent unjust
  enrichment.”) (emphasis added; citation omitted), quoted in Cullen, Inc. v. Capital Crossing Pfd. Corp., No.
  Civ. A. PC 01-5337, 2004 WL 877634, at *4 (R.I. Apr. 15, 2004).

  South Carolina:
  Calvert Fire Ins. Co. v. James:
        Legal subrogation is not dependent on contract. The doctrine is an equitable one, founded not
      upon any fixed law, but upon principles of natural justice; its purpose is to require the ultimate
      discharge of a debt by the person who in equity and good conscience ought to pay it; and it is to
      be applied according to the dictates of equity and good conscience in light of the actions and
      relationship of the parties. 50 AM. JUR., Subrogation, §§5, 6; Gadsden v. Brown & Wellsman, 17
      S.C. Eq. 37 (Speers Eq. 1843); Livingstain v. Columbian Banking & Trust Co., 57 S.E. 182, 183 (S.C.
      1907); American Surety Co. v. Hamrick Mills, 4 S.E.2d 308, 313-14 (S.C. 1939); Powers v. Calvert
      Fire Ins. Co., 57 S.E.2d 638, 642 (S.C. 1950); St. Paul-Mercury Indem. Co. v. Donaldson, 83 S.E.2d
      159, 162 (S.C. 1954).
        “Where the tortious conduct of a third person is the cause of a loss covered by an insurance
      policy, the insurer, upon payment of the loss, becomes subrogated pro tanto by operation of law
      to whatever rights the insured may have against the wrongdoer.” Globe & Rutgers Fire Ins. Co. v.
      Foil, 200 S.E. 97, 100 (S.C. 1938); Lucas v. Garrett, 41 S.E.2d 212, 214 (S.C. 1947); Pringle v. Atlantic
      Coast Line R. Co., 47 S.E.2d 722, 724 (S.C. 1948); Appleman, INS. LAW & PRAC., §4051.
  114 S.E.2d 832, 834-35 (S.C. 1960); Shumpert v. Time Ins. Co.,




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         Equitable Subrogation Prevents Unjust Enrichment or Double Recovery

  South Dakota:
  National Farmers Union P&C Co. v. Farm and City Ins. Co., 689 N.W.2d 619, 625 (S.D. 2004) (“Equitable
  subrogation applies when ‘an insurer has paid the principal debtor’s obligation to the common underlying
  claimant, and thereafter succeeds to the claimant’s rights against the principal debtor…’”) (Citations
  omitted); Amert v. Continental Cas. Co., 409 N.W.2d 660, 663 (S.D. 1987) (“The purpose of subrogation is
  to place the loss ultimately on the wrongdoers. … It also prevents the insured from recouping a windfall
  double recovery.”) (emphasis added) (quoting Cunningham v. Metropolitan Life Ins. Co., 360 N.W.2d 33,
  36 (Wis. 1985)).

  Tennessee:
  Blankenship v. Estate of Bain:
      Subrogation is defined as “the substitution of another person in the place of a creditor, so that
      the person in whose favor it is exercised succeeds to the rights of the creditor in relation to the
      debt.” Castleman Constr. Co. v. Pennington, 432 S.W.2d 669, 674 (Tenn. 1968) (citation omitted).
      …
        A right of subrogation may arise by contract (“conventional subrogation”), by application of
      equitable principles of law (“legal; subrogation”) or by application of a statue (“statutory
      subrogation”). It is based on two fundamental premises: 1) that an insured should not be
      permitted recovery twice for the same loss, which would be the potential result if the insured
      recovers from both its insurer and a tortfeasor; and 2) that the tortfeasor should compensate the
      insurer for payments the insurer made to the insured. York v. Sevier County Ambulance Auth., 8
      S.W.3d 616, 619 (Tenn. 1999).
  5 S.W.3d 647, 650 (Tenn. 1999) (emphasis added); Abbott v. Blount County, 207 S.W.3d 732, 734 (Tenn.
  2006) (“[T]he primary purpose of subrogation is ‘to prevent either the unjust enrichment of the insured
  through a double recovery or a windfall benefit to the principal tortfeasor.’”) (emphasis added) (quoting
  Wimberly v. Am. Cas. Co., 584 S.W.2d 200, 203 (Tenn. 1979)).

  Utah:
  Birch v. Fire Ins. Exch.:
      “Subrogation is an equitable doctrine; hence, equitable principles apply in determining its
      availability.” GNS P'ship v. Fullmer, 873 P.2d 1157, 1159 (Utah Ct. App.1994) (citation omitted). …
      The doctrine of equitable subrogation enforces the principle that the insured is not entitled to
      double recovery, and the insurer is equitably entitled to recover any amounts from the insured
      that the insured recovered that the insured recovered from the tortfeasor. See id.




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  122 P.3d 696, 697 (Utah Ct. App. 2005) (emphasis added); Valley Bank & Trust Co. v. Weyerman Feathers,
  514 P.2d 1282, 1283 (Utah 1973) (subrogation necessary to the extent need “to prevent unjust
  enrichment”) (emphasis added).

  Vermont:
  Town of Stowe v. Stowe Theatre Guild:
      As explained in United Mutual Fire Insurance Co. v. Joerg, 824 A.3d 586, 589 (Vt. 2003), the
      doctrine of subrogation is premised on theories of promoting restitution and avoiding unjust
      enrichment. Id. ¶6. … Subrogation prevents unjust enrichment to the insured that would result
      from double recovery, and it prevents unjust enrichment to the tortfeasor that would result if
      the tortfeasor were absolve from liability, despite its wrongful actions, just because of the
      insured’s foresight in obtaining insurance protection. 16 L. Russ & T. Segalla, COUCH ON INSURANCE
      3d §222:8, at 222-31 to 222-32 (3d ed. 2000).
  908 A.2d 447, 449 (Vt. 2006) (emphasis added).

  West Virginia:
  Old Republic Insurance Co. v. O’Neal:
      [E]ven though we accepted the differences between statutory and equitable subrogation, we
      acknowledged that “[t]he doctrine originated from equity rather than out of statute or common
      law ….” Bush v. Richardson, 484 S.E.2d 490, 493-94 (1997). We further stated that “[t]he purpose
      of subrogation is ‘to compel the ultimate payment of a debt by one who, in justice, equity and
      good conscience, should pay it.’ 83 C.J.S. Subrogation §2 at 582 (1953) (footnote omitted). Bush,
      484 S.E.2d at 494.”
  788 S.E.2d 40, 54 (W. Va. 2016) (footnote omitted); Farmers & Mechanics Mut. Ins. Co. v. Allen, 778 S.E.2d
  718, 727 (W. Va. 2015) (“’The object of subrogation is the prevention of injustice. … It is an appropriate
  means of preventing unjust enrichment.’”) (emphasis added) (quoting 23 Richard A. Lord, Williston on
  Contracts §61:51 (4th ed. 2011)).

  Wisconsin:
  Fischer v. Steffen:
        The rules of subrogation provide for the substitution of one party, the subrogee, for another,
      the subrogor. In the insurance context, subrogation is a derivative right that permits an insurer to
      step into the shoes of the insured and to pursue recovery from the tortfeasor to the extent of the
      insurer’s payments to the subrogor (the insured). Subrogation ensures that the loss is ultimately
      placed upon the tortfeasor and prevents the subrogor (the injured party) from being unjustly
      enriched through double recovery.




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  797 N.W.2d 501, 507 & n.24 (Wis. 2011) (emphasis added) (citing Koffman v. Leichtfuss, 630 N.W.2d 201,
  212 (Wis. 2001).




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                       In re Automotive Parts Antitrust Litigation
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  Arizona:
  Mosher v. Conway:
      [Subrogation] has been applied much more extensively in American than in English jurisprudence,
      and the modern tendency is to extend its use rather than to restrict it. While it was originally
      limited to transactions between principals and sureties, it now has a very liberal application, its
      principle being modified to meet the circumstances of cases as they arise.
  46 P.2d 110, 112 (Ariz. 1935) (emphasis added), quoted in Sourcecorp, Inc. v. Norcutt, 274 P.3d 1204, (Ariz.
  2012) (en banc) (as amended on denial of reconsideration); Hartford Underwriters Ins. Co. v. Fluidmaster,
  Inc., No. 1 CA–CV 07–0545, 2008 WL 4885732, at *3 & n.1 (Ariz. Ct. App. Nov. 10, 2008) (Reversing and
  remanding dismissal on technical pleading grounds of insurer’s equitable subrogation claim, even though
  there was no adequate remedy at law: “The trial court erred in granting judgment as a matter of law on
  Hartford’s claim for equitable subrogation.”) (citing Mosher v. Conway, 46 P.2d 110, 114 (Ariz. 1935)
  (where independent ground of equity jurisdiction exists, existence of adequate legal remedy does not
  prevent equity from giving complete relief)).

  Arkansas:
  Newberry v. Scruggs, 986 S.W.2d 853, 857 (Ark. 1999):
      “The doctrine of subrogation is an equitable one, having for its basis the doing of complete and
      perfect justice between the parties without regard to form, and its purpose and object is the
      prevention of injustice. … It rests upon the maxim that no one shall be enriched by another’s loss,
      and may be invoked whenever justice and good conscience demand its application in opposition
      to the technical rules of law, which liberate securities with the extinguishment of the original
      debt.”
  986 S.W.2d 853, 857 (Ark. 1999) (emphasis added) (quoting Southern Cotton Oil Co. v. Napoleon Hill
  Cotton Co., 158 S.W. 1082 (Ark. 1913)).

  California:
  W.B. Contractors, Inc. v. Bramalea Cal., Inc., Nos. E026852, E026998, 2001 WL 1240674, at *5 (Cal. Ct.
  App. Oct. 17, 2001) (“The doctrine of equitable subrogation ‘is to be liberally applied to promote
  justice….’”) (emphasis added) (quoting St. Paul Fire & Mar. Ins. Co. v. Murray Plumb’g & Heat’g Corp., 65
  Cal. App.3d 66, 72 (Cal. Ct. App. 1976)); Fireman’s Fund Ins. Co. v. Maryland Cas. Co., 77 Cal. Rptr.2d 296,




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  302 (Cal. Ct. App. 1998) (“As now applied [the doctrine of equitable subrogation] is broad enough to
  include every instance in which one person, not acting as a mere volunteer or intruder, pays a debt for
  which another is primarily liable, and which in equity and good conscience should have been discharged
  by the latter.’ [Citations].”) (emphasis added) (citing Caito v. United Cal. Bank, 144 Cal. Rptr. 751, 576 P.2d
  466 (1978)).

  District of Columbia:
  Trinity Universal Ins. Co. v. Moore:
      “The right of subrogation is based upon principles of equity and natural justice, and courts have
      liberally applied the principle of subrogation for the protection of those who are its natural
      beneficiaries.” Bahn to Use of Farm Bureau Mut. Auto. Ins. Co. v. Shalev, 125 A.2d 678, 679 D.C.
      Mun. App. 1956). Thus is compelled the ultimate discharge of an obligation by the one who in
      good conscience ought to pay it. Otherwise, either the insured would be unjustly enriched, or the
      guilty third party would be freed of his obligation to pay. Standard Acc. Ins. Co. v. Pellecchia, 15
      N.J. 162, 104 A.2d 288
        To effectuate this time-honored policy of the law, courts have consistently ignored
      technicalities and held that an insurer may enforce its rights against a tortfeasor, independently
      of a subrogation provision in the insurance contract.
  134 A.2d 333, 335 & n.1 (D.C. 1957) (emphasis added; quotation omitted) (citing National Garment Co. v.
  New York, C. & St. L. R. Co., 173 F.2d 32, 37 (8th Cir. 1949); Atlas Factors v. Ocean Acc. & Guarantee Corp.,
  121 N.Y.S.2d 175, 176 (Sup. Ct. N.Y. Cty. 1953); Contractors, Pac. Naval Air Bases v. Pillsbury, 105 F. Supp.
  772, 774 (N.D. Cal. 1952); Appleman, INS. LAW & PRAC., §4931 & cases cited in Note 2 thereof & §4052;
  3 Blashfield, Cyclopedia of Automobile Law, at 2616; 6 Berry on Automobiles (7th ed.), §6.542); London
  Guarantee & Acc. Co. v. Enterprising Services, Inc., 192 A.2d 292, (D.C. Cir. 1963) (same); Ford v. Snowden,
  145 A.3d 509, 513 (D.C. 2015) (“More generally, subrogation is an equitable remedy designed to protect
  an insurer’s right to recover monies from the party ultimately responsible for any injury caused to the
  insured. See District of Columbia v. Aetna Ins. Co., 462 A.2d 428, 431 (D.C. 1983) (“[Subrogation] is a
  creature of equity; is enforced solely for the purpose of accomplishing the ends of substantial justice; and
  is independent of any contractual relations between the parties.”) (internal quotation marks and citation
  omitted).”) (emphasis added).

  Florida:
  Holmes Reg. Med. Ctr., Inc. v. Allstate Ins. Co., 225 So.3d 780, 784-85 (2017) (Subrogation “is a legal device
  ‘founded on the proposition of doing justice without regard to form, and was designed to afford relief




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  where one is required to pay a legal obligation which ought to have been met, either wholly or partially,
  by another.’”) (citing Underwriters at Lloyds v. City of Lauderdale Lakes, 382 So.2d 702, 704 (Fla. 1980)
  (citations omitted)).

  Hawaii:
  St. Paul Fire & Mar. Ins. Co. v. Liberty Mut. Ins. Co.:
      Subrogation is a “creature of equity jurisprudence,” and is “so administered as to secure real and
      essential justice without regard to form[.]” Peters v. Weatherwax, 731 P.2d 157, 161 (Haw. 1987)
      (quoting Kapena v. Kaleleonalani, 6 Haw. 579, 583 (Haw. Kingdom 1885) (alteration in original;
      internal quotation mark and citation omitted).
        Equitable subrogation has a broad scope and we have defined the doctrine as “broad enough
      to include every instance in which one party pays a debt for which another is primarily
      answerable, and which, in equity and good conscience, should have been discharged by the
      latter[.]” Id. (alteration in original; citation omitted and internal quotation mark omitted).
  353 P.3d 991, 994 (Haw. 2015) (emphasis added).

  Iowa:
  Iowa P&L Co. v. Bd. of Water Works Trustees of Des Moines, 281 N.W.2d 827833-34 (Iowa Ct. App. 1979)
  (refusing to adopt a technical definition for the application of subrogation); Andrew v. Bevington Sav.
  Bank, 221 N.W. 668, 671 (Iowa 1928) (“’Subrogation’ in equity is broad and expansive.”) (emphasis added)
  (citing Heuser v. Sharman, 56 N. W. 525, 526 (Iowa 1893); Kent v. Bailey, 164 N.W. 852, 853 (Iowa 1917)
  (“The authorities are also agreed that the doctrine since first recognized has been steadily expanding and
  growing in importance and extent in its application to various subjects and classes of persons.”) (emphasis
  added); Wilkins v. Gibson, 38 S.E. 374, 379-84 (Ga. 1901)).

  Kansas:
  Hartford Fire Ins. Co. v. Western Fire Ins. Co., 597 P.2d 622, 629 (Kan. 1979) (“’Subrogation is a creature of
  equity invented to prevent a failure of justice and is broad enough to include an instance in which one
  party is required to pay what is, between them, the debt of another. It does not depend on contract nor
  the absence of contract, but is founded upon principles of natural justice. (Citations omitted.)’”) (emphasis
  added) (quoting United States Fidelity & Guar. Co. v. First State Bank, 494 P.2d 1149, 1157-8 (Kan. 1972),
  in turn quoting Blitz v. Metzger, 241 P. 259, 262 (Kan. 1925)).




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  Maine:
  Stevens v. King, 24 A. 850 (Me. 1892) (Subrogation “applies to a great variety of cases, and is broad enough
  to include every instance in which one party pays a debt for which another is primarily liable, and which
  in equity and good conscience should have been discharged by the latter; not, however, in the interest of
  mere volunteers and intermeddlers, nor is it allowed so as to do injury to the rights of others. It ignores
  the form, and looks to the substance.”) (emphasis added), quoted in Home Ins. Co. v. Bishop, 34 A.2d 22,
  24 (Me. 1943), in turn cited in MMG Ins. Co. v. Podiatry Ins. Co. of Am., 263 F.Supp.3d 327, 340 (D. Me.
  2017)).

  Massachusetts:
  Ditech Fin., LLC v. Kennedy, No. 17-P-324, 2018 WL 1371094, at *2 (Mass. Ct. App. Mar. 19, 2018) (“The
  remedy of equitable subrogation ‘is a broad equitable remedy.’”) (emphasis added) (quoting East Boston
  Sav. Bank v. Ogan, 428 Mass. 327, 330 (1998)).

  Michigan:
  Foremost Life Ins. Co. v. Waters:
      [Equitable subrogation] is broad enough to include every instance in which one party pays the
      debt for which another is primarily answerable, and which equity and good conscience should
      have been discharged by such other.
  278 N.W. 2d 688, 689-90 (Mich. Ct. App. 1982) (emphasis added) (citing Home Owners Loan Corp. v. Sears
  Roebuck & Co., 193 A. 769, 772 (Ct. 1937); BLACK’S LAW DICTIONARY (4th ed.), rev’d on other grounds by
  Foremost Life Ins. Co. v. Waters, 329 N.W.2d 688 (1982) (per curiam), quoted with approval in Hartford
  Acc. & Indem. Co. v. Used Car Factory, Inc., 600 N.W.2d 630, 632-33 (Mich. 1999) (“Equitable subrogation
  is a flexible, elastic doctrine of equity. Atlanta Int'l Ins. Co. v. Bell, 438 Mich. 512, 521, 475 N.W.2d 294
  (1991) (opinion of Brickley, J.). Its application ‘should and must proceed on the case-by case- analysis
  characteristic of equity jurisprudence.’ Id. at 516, n. 1, 475 N.W.2d 294.”) (emphasis added).

  Minnesota:
  Citizens State Bank v. Raven Trading Partners, Inc., 786 N.W.2d 274, 299 (Minn. 2010) (Page, J., dissenting)
  (“We have consistently liberally applied the doctrine of equitable subrogation for over 100 years, even
  in the face of serious, unexplained mistakes by plaintiffs and their agents.”) (citations omitted; emphasis
  added); Regie de l'assurance Auto. du Quebec v. Jensen, 389 N.W.2d 537, (Minn. Ct. App. 1986) (“The
  doctrine of subrogation … is broad enough to include every instance in which a person not acting as a
  mere volunteer pays a debt for which another is primarily liable, and which in equity and good conscience




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  should have been discharged by the latter. The doctrine embraces all cases where, without it, complete
  justice cannot be done. There is no limit to the circumstances in which the doctrine may be applied.”)
  (emphasis added) (citing 73 Am. Jur.2d Subrogation §6 (1974)), rev’d on other grounds by Regie de
  l'assurance Auto. du Quebec v. Jensen, 399 N.W.2d 85 (Minn. 1987).

  Mississippi:
  National Surety Corp. v. Edwards House Co., 4 So.2d 340, 341 (Miss. 1941) (“[T]he doctrine [of
  subrogation] as now applied is broad enough to include every instance in which one person, not acting
  voluntarily, pays a debt or discharges an obligation for which another is primarily liable, and which in
  equity and good conscience should have been discharged by the latter, …”) (emphasis added).

  Missouri:
  Netherton v. Farmers’ Exch. Bank of Gallatin, 63 S.W.2d 156, 158 (Mo. Ct. App. 1933) (“The doctrine of
  subrogation … is broad enough to include every instance in which one person pays the debt of another
  for which the other is primarily liable and should in good conscience have been paid by the other,
  provided, of course, that there are circumstances present which take the transaction out of the sphere of
  a purely volunteer payment.”) (emphasis added); Missouri Pub. Entity Risk Mgmt. Fund v. American Cas.
  Co. of Reading, 399 S.W.3d 68, 74 (Mo. Ct. App. 2013) (“Subrogation is broadly defined ….”) (emphasis
  added).

  Montana:
  Bower v. Tebbs:
      “The object of subrogation is the prevention of injustice. It is designed to promote and to
      accomplish justice, and is the mode which equity adopts to compel the ultimate payment of a
      debt by one who, in justice, equity, and good conscience, should pay it. It is appropriate means of
      preventing unjust enrichment. The doctrine of subrogation is applied to subserve the ends of
      justice, to do equity in the particular case under consideration, and to prevent fraud or relieve
      from mistake.”
  314 P.2d 731, 736 (Mont. 1957) (emphasis added) (quoting 83 C.J.S. Subrogation §2c, pp. 581, 583),
  quoted in Youngblood v. American States Ins. Co., 866 P.2d 203, 205 (Mont. 1993), in turn quoted in
  DeTienne Assoc. Ltd. P’ship v. Farmers Union Mut. Ins. Co., 879 P.2d 704,707 (Mont. 1994); Swingley v.
  Riechoff, 112 P.2d 1075, 1077 (Mont. 1941) (expanding application of subrogation because “subrogation
  really involves equitable principles”).




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  Nebraska
  J.J. Schaefer Livestock Hauling, Inc. v. Gretna State Bank, 428 N.W.2d 185, 193 (Neb. 1988) (“Subrogation
  is broad enough to include every instance in which one party pays a debt for which another party is
  primarily answerable.”) (emphasis added).

  Nevada:
  Laffranchini v. Clark, 153 P. 250, 252 (Nev. 1915) (Subrogation “applies to a great variety of cases, and is
  broad enough to include every instance in which one party pays a debt for which another is primarily
  liable, and which in equity and good conscience should have been discharged by the latter; not, however,
  in the interest of mere volunteers and intermeddlers; nor, is it allowed so as to do injury to the rights of
  others. It ignores the form and looks to the substance.”) (emphasis added).

  New Hampshire:
  Chase v. Ameriquest Mortg. Co., 921 A.2d 369, 376 (N.H. 2007) (“Equitable subrogation, in particular, is a
  broad doctrine, which is given liberal application.”) (emphasis added) (citing 73 AM. JUR.2d Subrogation
  §2 (2001)).

  New Mexico:
  State Farm Mut. Auto. Ins. Co. v. Foundation Res. Ins. Co., 431 P.2d 737, 741 (N.M. 1967) (“subrogation is
  an equitable remedy … for the benefit of one secondarily liable who has paid the debt of another and to
  whom in equity and good conscience should be assigned the rights and remedies of the original creditor.”)
  (citing Fidelity & Dep. Co. v. Atherton, 144 P.2d 157 (N.M. 1943)); George H. Sasser & Co. v. Chuck Wagon
  Sys., 172 P.2d 818, 821 (N.M. 1946) (“No general rule can be laid down which will afford a test in every
  case in which subrogation is sought. The underlying principle is that the right flows from principles of
  justice and equity. Every case depends upon its particular facts, …”) (emphasis added) (quoting Fidelity &
  Dep. Co. of Maryland v. Atherton, 144 P.2d 157, 161 (N.M. 1943)).

  New York:
  Winkelmann v Excelsior Ins. Co., 650 N.E.2d 841, 626 (1995) (“The doctrine [of subrogation] is liberally
  applied for the protection of those who are its natural beneficiaries--insurers that have been compelled
  by contract to pay the loss caused by the negligence of another.”) (emphasis added; citation omitted),
  quoted in In re September 11 Litig., 649 F. Supp.2d 171, 177 (S.D.N.Y. 2009).




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  North Carolina:
  Boney v. Central Mut. Ins. Co. of Chicago:
      [T]he doctrine of subrogation may be expansively and liberally applied. “It [the doctrine of
      subrogation] is a remedy which is highly favored and is not so restricted in its application as
      formerly. The courts are inclined rather to extend than to restrict the principle so that although
      formerly the right was limited to transactions between principals and sureties, now it is broad
      and expansive and has a very liberal application. It is no longer confined to cases of suretyship,
      but the doctrine has been steadily growing and expanding in importance, and becoming more
      general in its application to various subjects and classes of persons, the principle being modified
      to meet the circumstances of cases as they have arisen.”
  197 S.E. 122, 126 (N.C. 1938) (emphasis added) (quoting 60 C.J., “Subrogation,” §17); John Alden Life Ins.
  Co. v. North Carolina Ins. Guar. Ass’n, 589 S.E.2d 908, 910 (N.C. Ct. App. 2004) (“[T]his Court has held that
  … equitable subrogation is a ‘remedy [which] is highly favored and liberally applied.’”) (emphasis added)
  (quoting North Carolina Ins. Guar. Ass’n v. Century Indem. Co., 444 S.E.2d 464, 473 (N.C. Ct. App. 1994)).

  North Dakota:
  State Farm Mut. Auto. Ins. Co. v. Wee, 196 N.W.2d 54, 59 (N.D. 1971) (“Equitable subrogation is founded
  upon principles of equity and justice, intended to afford protection of the rights of a creditor. It is based
  on the theory that the one invoking it has rightfully discharged debt at the instance and for the benefit of
  the debtor and that he may be substituted as creditor.”) (emphasis added), cited in American Nat. Fire
  Ins. Co. v. Hughes, 658 N.W.2d 330, 333 (N.D. 2003) (“Subrogation is an equitable remedy which provides
  for an adjustment between parties to secure the ultimate discharge of a debt by the person who, in equity
  and good conscience, ought to pay for it.”) (citing St. Paul Fire & Mar. Ins. Co. v. Amerada Hess Corp., 275
  N.W.2d 304, 308 (N.D. 1979)).

  Oregon:
  United Pac. Ins. Co. v. Schetky Equip. Co., 342 P.2d 766, 772 (Or. 1959) (“[T]he principle of subrogation
  ought to be liberally applied for the protection of those who are its natural beneficiaries.”) (emphasis
  added; quotation omitted), quoted in State, By and Through Healy v. Smither, 626 P.2d 356, 359 (Or.
  1981); Northwestern Mut. Ins. Co. v. Peterson, 572 P.2d 1023, 1027 (Or. 1977) (“’Subrogation “is a remedy
  which is highly favored. The courts are inclined to expand rather than to restrict the principle. Although
  formerly the right was limited to transactions between principals and sureties, it is now broad and
  expansive, and has a very liberal application … the principle being modified to meet the circumstances




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  of the individual case.”’”) (emphasis added) (quoting Schetky Equip. Co., 342 P.2d at 772; 16 COUCH ON
  INSURANCE 2d §61:4 at 239 (2d ed. 1966)).

  Rhode Island:
  Merchants’ & Miners’ Transp. Co. v. Robinson-Baxter-Dissosway Towing & Transp. Co., 191 F. 769, 772
  (1st Cir. 1911) (Rhode Island law) (“the law of subrogation … rests on broad equities, and is entirely aside
  from any technicalities.”) (emphasis added).

  South Carolina:
  Calvert Fire Ins. Co. v. James, 114 S.E.2d 832, 834-35 (S.C. 1960) (“Legal subrogation … is to be applied
  according to the dictates of equity and good conscience in light of the actions and relationship of the
  parties.”) (emphasis added) (citing 50 AM. JUR., Subrogation, §§5, 6; Gadsden v. Brown & Wellsman, 17
  S.C. Eq. 37 (Speers Eq. 1843); Livingstain v. Columbian Banking & Trust Co., 57 S.E. 182, 183 (S.C. 1907);
  American Surety Co. v. Hamrick Mills, 4 S.E.2d 308, 313-14 (S.C. 1939); Powers v. Calvert Fire Ins. Co., 57
  S.E.2d 638, 642 (S.C. 1950); St. Paul-Mercury Indem. Co. v. Donaldson, 83 S.E.2d 159, 162 (S.C. 1954)).

  South Dakota:
  Application of Mach, 25 N.W.2d 881, 883 (S.D. 1947) (“As now applied, subrogation is broad enough to
  include every instance in which one person, not acting as a mere volunteer or intruder, pays a debt for
  which another is primarily liable, and which in equity and good conscience should have been discharged
  by the latter.”) (emphasis added) (citing 50 AM. JUR. Subrogation §7), cited in Met Life Auto & Home Ins.
  Co. v. Lester, 719 N.W.2d 385, 388 n.1 (S.D. 2006).

  Tennessee:
  Fitts v. Terminal Warehousing Corp., 93 S.W.2d 1265, (Tenn. 1936) (Tennessee Supreme Court “is
  committed to the doctrine of subrogation, or equitable assignment, and is desirous to extend and
  broaden the rule, ‘unless rights of third parties have intervened.’”) (emphasis added; quotation omitted).

  Utah:
  Bingham v. Walker Bros., Bankers:
        Subrogation is a remedy highly favored in equity. … “Subrogation, an equitable doctrine taken
      from the civil law, is broad enough to include every instance in which one party pays a debt for
      which another is primarily answerable, and which in equity and good conscience should have been
      discharged by the latter, so long as the payment was made either under compulsion or for the




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      protection of some interest of the party making the payment, and in discharge of an existing
      liability.”
  283 P. 1055, 1062-63 (Utah 1929) (emphasis added) (citing (SELDON ON SUBROGATION (2d ed.) pp. 2, 4)).

  Vermont:
  Hall v. Windsor Sav. Bank:
      The doctrine of subrogation is much broader in its scope and application …. It is highly equitable
      in character, and is regarded as one of the “benevolences of the law,” created, fostered, and
      applied in the interests and for the promotion of natural justice. … The right is a favorite of the
      law, and the tendency is to extend rather than restrict its application. It is not confined to the
      ordinary relation of principal and surety, but arises whenever, in the complex relations of business
      affairs, one man is compelled to pay a debt for which another is primarily liable and which, in
      equity and good conscience, should have been discharged by the latter. National Bank v. Cushing,
      53 Vt. 321 (1881).
        … Subrogation operates … without regard to form or technicalities, ….
  121 A. 582, 584 (Vt. 1923) (emphasis added); Canty v. Vermont Nat. Bank, No. S 1507-91 CnC, 1995 WL
  473486, at *3 (Vt. Nov. 2, 1994) (“As the right of subrogation has ‘particular approval’ under our law,
  Lopez v. Concord Gen’l Mut. Ins. Group, 583 A.2d 602 (Vt. 1990), we conclude that its value should not be
  diluted by requiring banks to first recredit accounts in order to gain the benefits of this venerable doctrine
  of equity.”).

  West Virginia:
  Old Republic Insurance Co. v. O’Neal, 788 S.E.2d 40, 526 (W. Va. 2016) (“As we recognized in syllabus point
  two of Bush v. Richardson, 484 S.E.2d 490 (W. Va. 1997), ‘The right of subrogation depends upon the facts
  and circumstances of each particular case.”) (emphasis added; citations omitted).

  Wisconsin:
  Farmers & Merch. State Bank v. Hildebrandt, 268 N.W. 212, 212-13 (Wis. 1936) (“’The doctrine of
  subrogation, by means of which a debt once paid or a security discharged is kept alive as against the
  principal debtor for the benefit of a third person who, not being a mere volunteer, has paid the debt, is
  an equitable doctrine, favored by the law because it accomplishes the ends of justice and fair dealing.’”)
  (emphasis added) (quoting Reddington v. Franey, 111 N.W. 725, 726 (Wis. 1907)).




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  Arizona:
  Monterey Homes Arizona, Inc. v. Federated Mut. Ins. Co.:
      [B]ecause an insurer’s right to subrogation derives from its insured’s right to recover against the
      third party, the actions of the insured may affect the insurer’s right to subrogation. Allied Mut.
      Ins. Co. v. Heiken, 675 N.W.2d 820, 824 (Iowa 2004). The insurer essentially stands in the shoes
      of the insured, taking on the insured’s rights and remedies as against the third party but also
      becoming subject to the defenses the third party could assert against the insured. Allstate Ins. Co.
      v. Mazzola, 175 F.3d 255, 260; (2d Cir. 1999); Heiken, 675 N.W.2d at 824–25.
  212 P.3d 43, 47 (Ariz. 2009) (emphasis added); Weitz Co. L.L.C. v. Heth, 333 P.3d 23, 28 (Ariz. 2014) (Under
  equitable subrogation, rights “are not discharged but are instead assigned by operation of law to the one
  who paid the obligation.”) (citing Restatement (Third) of Property: Mortgages §7.6 cmt. a).

  Arkansas:
  Hartford Ins. Co. of Midwest v. Mullinax, 984 S.W.2d 812, 817 (Ark. 1999) (“Because Hartford Insurance
  stands in the shoes of Mullinax, its claim is no greater than that of its insured.”) (emphasis added).

  California:
  Fireman’s Fund Ins. Co. v. Maryland Cas. Co.:
        The right of subrogation is purely derivative. An insurer entitled to subrogation is in the same
      position as an assignee of the insured’s claim, and succeeds only to the rights of the insured. The
      subrogated insurer is said to “’stand in the shoes’” of its insured, because it has no greater rights
      than the insured and is subject to the same defenses assertable against the insured. Thus, an
      insurer cannot acquire by subrogation anything to which the insured has no rights, and may claim
      no rights which the insured does not have.
  77 Cal. Rptr.2d 296, 303 (1998) (emphasis added) (quoting Truck Ins. Exch. v. Superior Court (Transco
  Syndicate No. 1, 70 Cal. Rptr.2d 255, 259 (Cal. Ct. App. 1997); Allstate Ins. Co. v. Loo, 54 Cal. Rptr.2d 541,
  543 (Cal. Ct. App. 1996); Fireman’s Fund Ins. Co. v. Maryland Cas. Co., 26 Cal.Rptr.2d 762, 767 (Cal. Ct.
  App. 1994); Patent Scaffolding Co. William Simpson Constr. Co, 64 Cal.Rptr.187 (Cal. Ct. App. 1967); 16
  COUCH ON INSURANCE (2d ed. 1983), Subrogation, §§61:36-61:38, at pp. 118-122; Witkin, Summary of Cal.
  Law (9th ed. 1990), Equity, §§169-174, pp. 848-857); Employers Ins. of Wausau v. Granite State Ins. Co.,
  330 F.3d 1214, 1217 (9th Cir. 2003) (California law) (citing U.S. v. California; Brown v. Rouse, 158 P. 267
  (Cal. 1899) (A subrogee “is put in all respects in the place of the party to whose right he is subrogated.”)




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  (emphasis added); Fireman's Fund Ins. Co. v. Maryland Cas. Co., 77 Cal. Rptr.2d 296 (1998) (The insurer
  “stand[s] in the shoes” of the insured) (emphasis added; quotation omitted)).

  District of Columbia:
  HSBC Bank USA, N.A. v. Mendoza, 11 A.3d 229, 235 (D.C. 2010) (“Under the doctrine of equitable
  subrogation, a lender who pays off a pre-existing mortgage and takes a new mortgage as security for the
  loan … steps into the shoes of the mortgagee whom it has paid off and receives that mortgagee’s priority
  over subsequent liens.”) (emphasis added; footnote omitted).

  Florida:
  Holmes Regional Med. Ctr., Inc. v. Allstate Ins. Co., 225 So.3d 780, 784 (2017) (“In order to ‘preclude a
  negligent doctor from escaping the responsibilities for his actions,’ we provided the remedy of equitable
  subrogation. We explained that subrogation is an equitable doctrine that allows the initial tortfeasor to
  be placed in ‘the shoes of’ the plaintiff.’”) (emphasis added) (citing Underwriters at Lloyds v. City of
  Lauderdale Lakes, 382 So.2d 702, 704 (Fla. 1980), in turn citing 30 Fla. Jur. Subrogation §11).

  Hawaii:
  St. Paul Fire & Mar. Ins. Co. v. Liberty Mut. Ins. Co., 353 P.3d 991, 994 (Haw. 2015) (“Through subrogation,
  the subrogee ‘is put in all respects in the place of the party whose rights he is subrogated.’ Peters v.
  Weatherwax, 731 P.2d 157, 161 (Haw. 1987) (quoting Kapena v. Kaleleonalani, 6 Haw. 579, 583 (Haw.
  Kingdom 1885) (emphasis added; internal quotation mark omitted).”).

  Iowa:
  Allied Mut. Ins. Co. Heiken:
      The insurer’s subrogation rights rest on the “viability of the insured’s claim against the tortfeasor.”
      4 Rowland H. Long, THE LAW OF LIABILITY INSURANCE §23.03, at 23-13 to -14 (1998). Consequently,
      when an insurer asserts a subrogation claim against a third-party tortfeasor, the insurer’s rights
      are limited to the rights of recovery possessed by the insured. Employers Mut. Cas. Co. v.
      Hanshaw, 176 N.W.2d 653, 655 (Iowa 1970). At the time subrogation attaches, the insurer
      becomes subrogated to the insured’s rights of recovery against the responsible tortfeasor, “and
      the insurer succeeds to all the procedural rights and remedies possessed by the insured.” Gibbs
      v. Hawaiian Eugenia Corp., 966 F.2d 101, 106 (2d Cir. 1992) (emphasis added).
  675 N.W.2d 820, 824-25 (Iowa 2004); Grinnell Mut. Reins. Co. v. Recker:
      In the context of insurance law, subrogation has been defined as “the right of the insurer to be
      put in the position of the insured in order to pursue recovery from third parties legally responsible
      to the insured for a loss paid by the insurer.” Hermeling v. Minnesota Fire & Cas. Co., 548 N.W.2d




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      270, 273 (Minn. 1996) (quoting 16 George J. Couch, COUCH CYCLOPEDIA OF INSURANCE LAW §61:1 (2d
      ed. 1983)). The principles of subrogation provide that … “The subrogee merely steps into the
      shoes of the subrogor.” … Id. (citations omitted).
  561 N.W.2d 63, 69 (Iowa 1997) (emphasis added).

  Kansas:
  Hartford Fire Ins. Co. v. Western Fire Ins. Co., 597 P.2d 622, 629 (Kan. 1979) (finding that the subrogor
  “stands in the shoes” of the subrogee: “Subrogation is the substitution of another person in the place of
  the creditor so that the person in whose favor it is exercised succeeds to the rights of the creditor in
  relations to the debt…”) (emphasis added).

  Maine:
  Maine Mun. Emp. Health Trust v. Maloney, 846 A.2d 336, 339 (Me. 2004) (Subrogation is the substitution
  of one party for another. Unity Tel. Co. v. Design Serv. Co., 201 A.2d 177, 179 (Me. 1964). As the subrogee,
  [plaintiff] steps into the shoes of [the subrogor].”) (emphasis added).

  Massachusetts:
  Liberty Mut. Ins. Co. v. Nat’l Consol. Warehouse, Inc., 609 N.E.2d 1243, 1246 (Mass. Ct. App. 1993) (“A
  subrogee stands in the shoes of the subrogor in whose name the action is brought.”) (emphasis added)
  (citing Harvard Trust Co. v. Racheotes, 147 N.E.2d 817, 818 (Mass. 1958)); McCabe v. Braunstein, 439 B.R.
  1, 6 (Bankr. D. Mass. 2010) (“By stepping into the shoes of the subrogor, the subrogee is bound by the
  timing of the original claim, the date upon which it arose and the date upon which it expires under a
  statute of limitations.”) (emphasis added).

  Michigan:
  Foremost Life Ins. Co. v. Waters, 278 N.W. 2d 688, 689-90 (Mich. 1982) (“The substitution of one person
  in the place of another with reference to a lawful claim, demand or right, Whyel v. Smith, 134 So.2d 552,
  554 (Fl. 1931), so that he who is substituted succeeds to the rights of the other in relation to the debt or
  claim, and its rights, remedies, or securities. Home Owners' Loan Corp. v. Baker, 12 N.E.2d 199, 201 (Mass.
  1937); Gerken v. Davidson Grocery Co., 69 P.2d 122, 126 (Idaho 1937).”) (emphasis added; quotation
  omitted), rev’d on other grounds by Foremost Life Ins. Co. v. Waters, 329 N.W.2d 688 (1982) (per curiam);
  Acuity v. Nick’s Trucking & Excavating, LLC, Civil Case No. 15-11907, 2016 WL 4060975, at *3 (E.D. Mich.
  July 29, 2016) (“as subrogee of Killam, [subrogee] stands in Killam’s shoes”) (emphasis added).




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  Minnesota:
  Auers v. Progressive Direct Ins. Co., 878 N.W.2d 350, 355 (Minn. 2016) (“Upon payment of a loss, the
  insurer is subrogated in a corresponding amount to the insured’s right of action against any third party
  whose conduct caused the loss.”) (emphasis in original) (citing RAM Mut. Ins. Co. v. Rohde, 820 N.W.2d 1,
  5 (Minn. 2012); Melrose Gates, LLC v. Chor Moua, 875 N.W.2d 814, 817 (Minn. 2016) (“Subrogation is the
  substitution of one party for another whose debt the party pays, which entitles the paying party to step
  into the shoes, or be substituted to all the rights, priorities, remedies, liens, and securities of, the other
  party.”) (emphasis added) (citing RAM Mut. Ins. Co. v. Rohde, 820 N.W.2d 1, 5 (Minn. 2012), in turn citing
  16 Lee R. Russ & Thomas F. Segalla, COUCH ON INSURANCE §222:5 (3d ed. 1995) and BLACK’S LAW DICTIONARY
  1654-55 (10th ed. 2014)).

  Mississippi:
  Armstrong v. Mississippi Farm Bureau Cas. Ins. Co., 66 So.3d 188, 190-91 (Miss. Ct. App. 2011) (“When an
  insurer makes payments to an insured to cover a loss and the insured has a claim against a third party to
  recover for that same loss, the insurer steps into the shoes of the insured and acquires the right to recover
  from that third party the amount paid to the insured.”) (citing St. Paul Prop. & Liab. Ins. Co. v. Nance, 577
  So.2d 1238, 1240-41 (Miss. 1991) (emphasis added).

  Missouri:
  Continental Ins. Co. v. Washeon, 524 F. Supp. 34, 36-37 (E.D. Mo. 1995) (“As subrogee to plaintiff’s
  insured’s interest, plaintiff may assert the same rights and is subject to the same defenses as plaintiff’s
  insured.”) (emphasis added) (citing U.S. v. United Serv. Auto. Ass’n, 238 F.2d 364, 366 (8th Cir. 1956); Holt
  v. Myers, 494 S.W.2d 430, 444 (Mo. Ct. App. 1973) (“To the extent of its payment, the insurance company
  stood in the shoes of the Holts and was therefore subject to the same defenses.”) (emphasis added).

  Montana:
  Montana Petroleum Tank Release Bd. v. Capitol Indem. Co., 137 P.3d 522, 528 (Mont. 2006) (“Subrogation
  is an equitable adjustment of rights used to avoid unjust enrichment. In many instances this is
  accomplished by substituting one person or entity in place of another in regard to some claim or right
  the second person or entity has against a third party.”) (emphasis added) (citing Swingley v. Riechoff, 112
  P.2d 1075, 1077 (Mont. 1941); Talbot v. WMK-Davis, LLC, 380 P.3d 823, 832 (Mont. 2016) (McKinnon, J.,
  dissenting) (“Under Montana law, one who asserts the right of subrogation must step into the shoes of,
  or be substituted for, one whose claim or debt he or she paid.”) (emphasis added) (citing, inter alia, Skauge
  v. Mountain States Tel. & Tel. Co., 565 P.2d 628, 630 (1977) (“the person substituted will succeed to the
  rights of the creditor in relation to the debt or claim.”) (emphasis added).




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  Nebraska
  Thrower v. Anson:
      Subrogation involves the substitution of one person in the place of another with reference to a
      lawful claim, demand, or right, so that the one who is substituted succeeds to the rights of the
      other in relation to the debt or claim and its rights, remedies, or securities. Blue Cross and Blue
      Shield v. Dailey, 687 N.W.2d 689 (Neb. 2004). An insurer’s subrogation rights can be no greater
      than the rights of an insured against a third party …. (citations omitted) …. See also Querry &
      Harrow v. Transcontinental Ins., 885 N.E.2d 1235, 1237 (Ind. 2008) (Sullivan, J., dissenting, stating
      that “[o]ne who asserts a right of subrogation must step into the shoes of, or be substituted for,
      the one whose claim or debt he has paid and can only enforce those rights which the latter could
      enforce.”).
  752 N.W.2d 555 (Neb. 2008) (emphasis added).

  Nevada:
  Arguello v. Sunset Station, Inc.:
      “[A]n insurer that pays its insured in full for claimed losses is subrogated by operation of law to
      the rights, if any, which the insured may have had against the tortfeasor before payment was
      made.” Duboise v. State Farm Mut. Auto. Ins., 619 P.2d 1223, 1224 (Nev. 1980) (emphasis added).
      Such a circumstance is known as “total subrogation.” Valley Power Co. v. Toiyabe Supply, 396 P.2d
      137, 138 (Nev. 1964). “In such a case the insurer … is the sole party in interest, and the only one
      who may assert a claim against those thought to be ultimately liable.” Id.
  252 P.3d 206, 208 (Nev. 2011) (emphasis added); Laffranchini v. Clark, 153 P. 250, 254 (Nev. 1915)
  (recognizing that a subrogated party “step[s] into the shoes” of the subrogee), cited by American Home
  Assur. Co. v. Eighth Jud. Dist. Court ex rel. County of Clark, 147 P.3d 1120, 1127 (Nev. 2006) (emphasis
  added).

  New Hampshire:
  Wolters v. American Republic Ins. Co.:
        “The doctrine of subrogation has its origins in equity. See Dimick v. Lewis, 497 A.2d 1221 (N.H.
      1985). A party’s right to subrogation can arise either by contract, statute, or common law or
      equitable principles. Moulton v. Groveton Papers Co., 323 A.2d 906, 910 (N.H. 1974); see also
      16 L. Russ & T. Segalla, COUCH ON INSURANCE 3d §222:6, at 222–27 (2000).
                                                       …
      … The purpose behind subrogation “is to place the responsibility where it ultimately should rest
      by compelling payment by the one who in good conscience ought to pay it.” Security Fence Co. v.
      Manchester Fed. S&L Ass’n, 136 A.2d 910, 912 (N.H. 1957) (quotation omitted).




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  827 A.2d 197, 199-200 (N.H. 2003) (emphasis added); In re Estate of Raduazo, 814 A.2d 147, 156 (N.H.
  2002) (In an “action in subrogation, [the subrogee] stepped into [the subrogor’s] shoes to enforce a right
  she would have enjoyed had she decided to bring suit.”) (emphasis added; citation omitted).

  New Mexico:
  Amica Mutual Ins. Co. v. Maloney, 903 P.2d 834, 838 (N.M. 1995) (“Ordinarily the right of subrogation
  allows the insurer to step into the shoes of the insured and collect what it has paid from the wrongdoer.”)
  (citing White v. Sutherland, 585 P.2d 331, 334 (N.M. Ct. App. 1978) (emphasis added).

  New York:
  North Star Reins. Corp. v. Continental Ins. Co., 82 N.Y.2d 281, 294 (1993) (“Subrogation, an equitable
  doctrine, entitles an insurer to ‘stand in the shoes’ of its insured to seek indemnification from third parties
  whose wrongdoing has caused a loss for which the insurer is bound to reimburse.”) (emphasis added)
  (citing Pennsylvania Gen. Ins. Co. v Austin Powder Co., 502 N.E.2d 982, 68 N.Y.2d 465, 471 (1986); 16
  COUCH, INSURANCE 2d §61:37 (rev ed.); Keeton and Widiss, INSURANCE LAW §3.10 [a] (Practitioner’s ed.));
  Great Am. Ins. Co. of N.Y. v. Advance Ocean Inc., 07 Civ. 6421 (PAC), 2008 WL 11399095, at *3 (S.D.N.Y.
  July 8, 2008 (citing U.S. v. California).

  North Carolina:
  Milwaukee Ins. Co. v. McLean Trucking Co., 125 S.E.2d 25, 28 (N.C. 1962) (“The general rule is that upon
  payment of a loss, pursuant to the terms of its contract of insurance, the insurer, or insurers in the case
  of coinsurance, are entitled to be subrogated pro tanto to any right of action which the insured may
  have against a third party whose negligence or wrongful act caused the loss.) (emphasis added);
  Nationwide Mut. Ins. Co. v. Erie Ins. Co., 720 S.E.2d 30 (Table), 2011 WL 6046898, at *3 (N.C. Ct. App.
  Dec. 6, 2011) (“Plaintiff, having stepped into the shoes of the drivers through subrogation, acquired no
  greater rights than those of the drivers.”) (emphasis added).

  North Dakota:
  Haugenoe v. Workforce Safety & Ins., 748 N.W.2d 378, 393 (N.D. 2008) (“Under the concept of
  subrogation, WSI ‘stands in the shoes’ of the claimant for any recovery.”) (citing Ness v. St. Aloisius Hosp.,
  313 N.W.2d 781, 783 (N.D. 1981) (emphasis added).

  Oregon:
  Koch v. Spann, 92 P.3d 146, 148 (Or. Ct. App. 2004) (“In the insurance context, subrogation permits an
  insurer in certain instances to recover what it has paid to its insured by, in effect, standing in the shoes of
  the insured and pursuing a claim against the wrongdoer.”) (emphasis added) (citing Furrer v. Yew Creek




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  Logging Co., 292 P.2d 499, 502 (Or. 1956); Safeco Ins. Co. of Am. v. Russell, 13 P.3d 519, 521 (Or. Ct. App.
  2000)); Certain Underwriters at Lloyd's London and Excess Ins. Co., Ltd. v. Massachusetts Bonding and Ins.
  Co., 230 P.3d 103, 112 (Or. Ct. App. 2010) (under a subrogation theory, an insurer “stands in the shoes of
  its insured.”) (emphasis added).

  Rhode Island:
  Hawkins v. Gadoury:
      The doctrine [of subrogation] is derived from the civil law from which it has been adopted by the
      courts of equity. Silva v. Home Indem. Co., 416 A.2d 664, 667 (R.I. 1980) (quoting May Trucking
      Co. v. Int’l Harvester Co., 543 P.2d 1159, 1161 (Idaho 1975). Otherwise described, “[s]ubrogation
      places the subrogated party in the shoes of the creditor and entitles him to the rights which the
      creditor had in respect to the debt or obligation. Defenses which would not have been available
      against the creditor or obligor cannot, as a rule, be interposed against the subrogee….
  713 A.2d 799, 804 (R.I. 1998) (emphasis added); Credit Union Cent. Falls v. Groff, 966 A.2d 1262, 1274 (R.I.
  2009) (“subrogation allows the title insurer to ‘stand in the shoes’ of the insured creditor when it pays an
  obligation in satisfaction of the express terms of their policy.”) (emphasis added; citation omitted).

  South Carolina:
  Kuznik v. Bees Ferry Assoc., 538 S.E.2d 15, 31 (S.C. 2000) (“Under equitable subrogation, [subrogee] would
  step into the shoes of the original creditor.”) (emphasis added) (citing Dodge City of Spartanburg, Inc. v.
  Jones, 454 S.E.2d 918, 920 (S.C. Ct. App. 1995) (through doctrine of equitable subrogation, subsequent
  creditor can assume rights and priority of prior creditor) (emphasis added)).

  South Dakota:
  Nat’l Farmers Union Prop. and Cas. Co. v. Farm and City Ins. Co., 689 N.W.2d 619, 625 (S.D. 2004)
  (“Equitable subrogation applies when ‘an insurer has paid the principal debtor’s obligation to the common
  underlying claimant, and thereafter succeeds to the claimant’s rights against the principal debtor…’”.)
  (emphasis added); Street v. Farmers Elevator Co. of Elkton, 149 N.W. 429, 433 (S.D. 1914) (“the bailee by
  equitable assignment and subrogation steps into the shoes of the paramount owner as to the rights and
  ownership of the bailed property.”) (emphasis added).

  Tennessee:
  Blankenship v. Estate of Bain, 5 S.W.2d 647, 650 (Tenn. 1999) (“Subrogation allows an insurer to ‘stand in
  the shoes’ of an insured and assert the rights of the insured had against a third party.”) (emphasis added)
  (citing Wimberly v. Am. Cas. Co., 584 S.W.2d 200, 203 (Tenn. 1979)); York v. Sevier County Amb. Auth., 8
  S.W.3d 616, 618-19 (Tenn. 1999) (“In the context of insurance, subrogation allows the insurer to ‘stand




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                         An Insurer “Stands in the Shoes” of Its Insured

  in the shoes’ of the insured and assert the rights the insured had against a third party.”) (original
  emphasis removed; emphasis added).

  Utah:
  Birch v. Fire Ins. Exch., 122 P.3d 696, 697 (Utah Ct. App. 2005) (“’The doctrine of subrogation allows an
  insurer, having paid a loss resulting from a peril insured against, to step into the shoes of its insured and
  recoup its losses from a tortfeasor whose negligence caused the loss.’”) (emphasis added) (quoting GNS
  P’ship v. Fullmer, 873 P.2d 1157, 1160 (Utah Ct. App. 1994) (citations omitted)).

  Vermont:
  Town of Stowe v. Stowe Theatre Guild, 908 A.2d 447, 449 (2006) (“Subrogation allows an insurer to
  ‘stand[ ] in the shoes’ of the insured in a lawsuit and thereby collect the amounts the insurer has been
  compelled to pay for losses caused by the actual wrongdoer, ‘who, in good conscience, should be required
  to pay.’”) (emphasis added) (quoting United Mut. Fire Ins. Co. v. Joerg, 824 A.3d 586, 589 (Vt. 2003)).

  West Virginia:
  Farmers & Mech. Mut. Ins. Co. v. Allen, 236 W.Va. 269, 273 (W. Va. 2015) (“a subrogated insurer stands
  in the shoes of an insured”) (emphasis added) (citing Steven Plitt et al., 16 COUCH ON INSURANCE 3d §222:5
  (2015) (footnotes omitted).

  Wisconsin:
  Fischer v. Steffen:
      The rules of subrogation provide for the substitution of one party, the subrogee, for another, the
      subrogor. In the insurance context, subrogation is a derivative right that permits an insurer to
      step into the shoes of the insured and to pursue recovery from the tortfeasor to the extent of the
      insurer’s payments to the subrogor (the insured). Subrogation ensures that the loss is ultimately
      placed upon the tortfeasor and prevents the subrogor (the injured party) from being unjustly
      enriched through double recovery.
  797 N.W.2d 501, 507 (Wis. 2011) (emphasis added); Sentry Select Ins. Co. v. McCoy Corp., 980 F. Supp.2d
  1072, 1075 n.3 (W.D. Wis. 2013) (“One who rests on subrogation stands in the place of one whose claim
  he has paid, as if the payment giving rise to the subrogation had not been made.”) (quoting U.S. v. Munsey
  Trust Co. of Washington, D.C., 332 U.S. 234, 242, 67 S. Ct. 1599 (1947) (emphasis added)).




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